Case 1:19-cv-12551-FDS Document 510-2 Filed 05/19/23 Page 1 of 30




                     EXHIBIT B
        Case 1:19-cv-12551-FDS Document 510-2 Filed 05/19/23 Page 2 of 30

                                                                                             USOO8407273B2


(12) United States Patent                                                  (10) Patent No.:                US 8,407.273 B2
       Bates                                                               (45) Date of Patent:                  *Mar. 26, 2013
(54)   PROCESSING WITH COMPACT                                          (56)                  References Cited
       ARTHMETIC PROCESSINGELEMENT
                                                                                         U.S. PATENT DOCUMENTS
(75) Inventor: Joseph Bates, Lexington, MA (US)                                5,226,166 A     7/1993 Ishida et al.
                                                                               5,293,500 A     3, 1994 Ishida et al.
(73) Assignee: Singular Computing LLC, Newton,                                 5,809,320 A     9, 1998 Jain et al.
               MA (US)                                                         5,867,683 A     2, 1999 Witt et al.
                                                                               5,887,160 A     3, 1999 Lauritzen et al.
                                                                               5,892,962 A     4/1999 Cloutier
(*) Notice: Subject to any disclaimer, the term of this                  2004.0054708 A1       3/2004 Happonen
               patent is extended or adjusted under 35
               U.S.C. 154(b) by 0 days.                                 Primary Examiner — Michael DYaary
               This patent is Subject to a terminal dis                 (74) Attorney, Agent, or Firm — Robert Plotkin, P.C.
                   claimer.
                                                                        (57)                    ABSTRACT
(21) Appl. No.: 13/399,884
                                                                        A processor or other device. Such as a programmable and/or
(22) Filed:        Feb. 17, 2012                                        massively parallel processor or other device, includes pro
                                                                        cessing elements designed to perform arithmetic operations
(65)                   Prior Publication Data                           (possibly but not necessarily including, for example, one or
       US 2013/OO31153 A1           Jan. 31, 2013                       more of addition, multiplication, Subtraction, and division) on
                                                                        numerical values of low precision but high dynamic range
            Related U.S. Application Data                               (“LPHDRarithmetic'). Such a processor or other device may,
                                                                        for example, be implemented on a single chip. Whether or not
(63) Continuation of application No. 12/816,201, filed on               implemented on a single chip, the number of LPHDR arith
       Jun. 15, 2010, now Pat. No. 8,150,902.                           metic elements in the processor or other device in certain
(60) Provisional application No. 61/218,691, filed on Jun.              embodiments of the present invention significantly exceeds
       19, 2009.                                                        (e.g., by at least 20 more than three times) the number of
                                                                        arithmetic elements, if any, in the processor or other device
(51)   Int. C.                                                          which are designed to perform high dynamic range arithmetic
     G06F 7/38               (2006.01)                                  of traditional precision (such as 32 bit or 64bit floating point
(52) U.S. C. ......... 708/524; 708/490; 712/221: 382/255               arithmetic).
(58)   Field of Classification Search ........................ None
       See application file for complete search history.                               70 Claims, 11 Drawing Sheets


                                              602a                                                            602b
                                          /N-                                                              /-                408
                                AINPUT                                                            BINPUT
                              NAN VALUE                                                        NAN VALUE




                                       ADDIS




                                                      little
        412a

   -->
   - Co
       412b
    412C
   -OHD
    412d
   - SD
  CONTROL
  SIGNALS

                                                                  NAN VALUE
                                                                      OUTPUT /
   Case 1:19-cv-12551-FDS Document 510-2 Filed 05/19/23 Page 3 of 30


U.S. Patent       Mar. 26, 2013        Sheet 1 of 11             US 8,407.273 B2




                                                                        1 OO




       Control                             Processing Element
      Unit (CU)                                Array (PEA)




                         Input/Output Unit (IOU)




                                                   Peripherals




                                  FIG. 1
   Case 1:19-cv-12551-FDS Document 510-2 Filed 05/19/23 Page 4 of 30


U.S. Patent       Mar. 26, 2013      Sheet 2 of 11     US 8,407.273 B2




                                                     104




                                  FIG. 2
   Case 1:19-cv-12551-FDS Document 510-2 Filed 05/19/23 Page 5 of 30


U.S. Patent       Mar. 26, 2013   Sheet 3 of 11        US 8,407.273 B2


                                       3O4




                                     TO I/O Unit 108




                                       FIG. 3
     Case 1:19-cv-12551-FDS Document 510-2 Filed 05/19/23 Page 6 of 30


U.S. Patent




   007




                                   SHEL|50
    Case 1:19-cv-12551-FDS Document 510-2 Filed 05/19/23 Page 7 of 30


U.S. Patent        Mar. 26, 2013              Sheet 5 of 11           US 8,407.273 B2




   00G                                                        ?ZOG




                  ETV/\    dl
                                   HLEN5|DE HNOC|H   G



                                                              p?OGZ
                                                              CIZOG
                                                              ?ZOG
   Case 1:19-cv-12551-FDS Document 510-2 Filed 05/19/23 Page 8 of 30


U.S. Patent                         Mar. 26, 2013          Sheet 6 of 11   US 8,407.273 B2


              807
                                .
     CIZ09                                          809
             ~/
                  No.LÍTICHN|




                                                                            I_ndl/no

     [2 09
             ~/
                                      NÈ
                                       ILn–wy^(+)
                                                          --
   Case 1:19-cv-12551-FDS Document 510-2 Filed 05/19/23 Page 9 of 30


U.S. Patent       Mar. 26, 2013   Sheet 7 of 11        US 8,407.273 B2




                                  FIG. 7
   Case 1:19-cv-12551-FDS Document 510-2 Filed 05/19/23 Page 10 of 30


U.S. Patent       Mar. 26, 2013     Sheet 8 of 11       US 8,407.273 B2




                                  FIG. 8
   Case 1:19-cv-12551-FDS Document 510-2 Filed 05/19/23 Page 11 of 30


U.S. Patent       Mar. 26, 2013     Sheet 9 of 11       US 8,407.273 B2




                                  FIG. 9
   Case 1:19-cv-12551-FDS Document 510-2 Filed 05/19/23 Page 12 of 30


U.S. Patent       Mar. 26, 2013     Sheet 10 of 11      US 8,407.273 B2




                                  FIG. O
   Case 1:19-cv-12551-FDS Document 510-2 Filed 05/19/23 Page 13 of 30


U.S. Patent       Mar. 26, 2013      Sheet 11 of 11     US 8,407.273 B2




                                  FIG. 11
       Case 1:19-cv-12551-FDS Document 510-2 Filed 05/19/23 Page 14 of 30


                                                     US 8,407.273 B2
                              1.                                                                   2
          PROCESSING WITH COMPACT                                  perform some significant fraction of a billion interesting com
       ARTHMETIC PROCESSINGELEMENT                                 putational operations within a few propagation delays of the
                                                                   basic components (a “cycle' if the overall design is a tradi
           CROSS-REFERENCE TO RELATED                              tional digital design). Yet, today's CPU chips use their billion
                  APPLICATIONS                                     transistors to enable software to perform merely a few such
                                                                   operations per cycle, not the significant fraction of the billion
  This application is a continuation of U.S. patent applica        that might be possible.
tion Ser. No. 12/816,201, filed on Jun. 15, 2010, now U.S. Pat.
No. 8,150,902 entitled, “Processing with Compact Arith                                       SUMMARY
metic Processing Element, which claims the benefit of U.S.       10
Provisional Patent Application Ser. No. 61/218,691, filed on           Embodiments of the present invention are directed to a
Jun. 19, 2009, entitled, “Massively Parallel Processing with processor or other device. Such as a programmable and/or
Compact Arithmetic Element, both of which are hereby massively parallel processor or other device, which includes
incorporated by reference herein.                                   processing elements designed to perform arithmetic opera
                                                                 15 tions (possibly but not necessarily including, for example,
                    COPYRIGHT NOTICE                                one or more of addition, multiplication, Subtraction, and divi
                                                                    sion) on numerical values of low precision but high dynamic
   A portion of the disclosure of this patent document con range (“LPHDR arithmetic'). Such a processor or other
tains material which is Subject to copyright protection. The device may, for example, be implemented on a single chip.
copyright owner has no objection to the facsimile reproduc Whether or not implemented on a single chip, the number of
tion by anyone of the patent document or the patent disclo LPHDRarithmetic elements in the processor or other device
sure, as it appears in the Patent and Trademark Office patent in certain embodiments of the present invention significantly
file or records, but otherwise reserves all copyright rights exceeds (e.g., by at least 20 more than three times) the number
whatsoever.                                                         of arithmetic elements in the processor or other device which
                                                                 25 are designed to perform high dynamic range arithmetic of
                        BACKGROUND                                  traditional precision (such as 32 bit or 64 bit floating point
                                                                    arithmetic).
   The ability to compute rapidly has become enormously                In some embodiments, “low precision' processing ele
important to humanity. Weather and climate prediction, medi ments perform arithmetic operations which produce results
cal applications (such as drug design and non-invasive imag 30 that frequently differ from exact results by at least 0.1% (one
ing), national defense, geological exploration, financial mod tenth of one percent). This is far worse precision than the
eling, Internet search, network communications, scientific widely used IEEE 754 single precision floating point stan
research in varied fields, and even the design of new comput dard. Programmable embodiments of the present invention
ing hardware have each become dependent on the ability to may be programmed with algorithms that function
rapidly perform massive amounts of calculation. Future 35 adequately despite these unusually large relative errors. In
progress, such as the computer-aided design of complex Some embodiments, the processing elements have "high
nano-scale systems or development of consumer products dynamic range' in the sense that they are capable of operating
that can see, hear, and understand, will demand economical          on inputs and/or producing outputs spanning a range at least
delivery of even greater computing power.                           as large as from one millionth to one million.
   Gordon Moore's prediction, that computing performance 40
per dollar would double every two years, has proved valid for              BRIEF DESCRIPTION OF THE DRAWINGS
over 30 years and looks likely to continue in some form. But
despite this rapid exponential improvement, the reality is that        FIG. 1 is an example overall design of a SIMD processor
the inherent computing power available from silicon has according to one embodiment of the present invention.
grown far more quickly than it has been made available to 45 FIG. 2 is an example of the Processing Element Array of a
Software. In other words, although the theoretical computing SIMD processor according to one embodiment of the present
power of computing hardware has grown exponentially, the invention.
interfaces through which Software is required to access the            FIG. 3 is an example of how a Processing Element in a
hardware limits the ability of software to use hardware to Processing Element Array communicates data with other
perform computations at anything approaching the hard 50 parts of the processor according to one embodiment of the
ware's theoretical maximum computing power.                         present invention.
   Consider a modern silicon microprocessor chip containing            FIG. 4 is an example design for a Processing Element
about one billion transistors, clocked at roughly 1 GHz. On according to one embodiment of the present invention.
each cycle the chip delivers approximately one useful arith            FIG. 5 is an example LPHDR data word format according
metic operation to the Software it is running. For instance, a 55 to one embodiment of the present invention.
value might be transferred between registers, another value            FIG. 6 is an example design for an LPHDRarithmetic unit
might be incremented, perhaps a multiply is accomplished. according to one embodiment of the present invention.
This is not terribly different from what chips did 30 years ago,       FIG. 7 is an original image.
though the clock rates are perhaps a thousand times faster             FIG. 8 is an image blurred by a blur kernel according to one
today.                                                           60 embodiment of the present invention.
   Real computers are built as physical devices, and the               FIG. 9 is an image produced by Richardson Lucy decon
underlying physics from which the machines are built often Volution using floating point arithmetic according to one
exhibits complex and interesting behavior. For example, a embodiment of the present invention.
silicon MOSFET transistor is a device capable of performing            FIG. 10 is an image produced by Richardson Lucy decon
interesting non-linear operations, such as exponentiation. 65 volution using LPHDR floating point arithmetic with added
The junction of two wires can add currents. If configured noise (fp+noise) according to one embodiment of the present
properly, a billion transistors and wires should be able to invention.
       Case 1:19-cv-12551-FDS Document 510-2 Filed 05/19/23 Page 15 of 30


                                                    US 8,407.273 B2
                             3                                                                   4
   FIG. 11 is an image produced by Richardson Lucy decon           processing elements, evolved toward wider data paths to bet
volution using LPHDR logarithmic arithmetic (Ins) accord           ter Support fast arithmetic, producing machines such as the
ing to one embodiment of the present invention.                    Connection Machine-2 which included 32 bit floating point
                                                                   hardware and the MasPar machines which succeeded the
                DETAILED DESCRIPTION                                 Goodyear machine and provided 4 bit processing elements in
                                                                     the MasPar-1 and 32 bit processing elements in the MasPar-2.
   As described above, today's CPU chips make inefficient               Array processors also have been designed to use analog
use of their transistors. For example, a conventional CPU chip representations of numbers and analog circuits to perform
containing a billion transistors might enable Software to per computations. The SCAMP is such a machine. These
form merely a few operations per clock cycle. Although this 10 machines provide low precision arithmetic, in which each
is highly inefficient, those having ordinary skill in the art operation might introduce perhaps an error of a few percent
design CPUs in this way for what are widely accepted to be age points in its results. They also introduce noise into their
valid reasons. For example, Such designs satisfy the (often computations, so the computations are not repeatable. Fur
essential) requirement for software compatibility with earlier ther, they represent only a small range of values, correspond
designs. Furthermore, they deliver great precision, perform 15 ing for instance to 8 bit fixed point values rather than provid
ing exact arithmetic with integers typically 32 or 64bits long ing the large dynamic range of typical 32 or 64bit floating
and performing rather accurate and widely standardized point representations. Given these limitations, the SCAMP
arithmetic with 32 and 64bit floating point numbers. Many was not intended as a general purpose computer, but instead
applications need this kind of precision. As a result, conven was designed and used for image processing and for modeling
tional CPUs typically are designed to provide Such precision, biological early vision processes. Such applications do not
using on the order of a million transistors to implement the require a full range of arithmetic operations inhardware, and
arithmetic operations.                                               the SCAMP for example, omits general division and multi
   There are many economically important applications, plication from its design.
however, which are not especially sensitive to precision and            While SIMD machines were popular in the 1980s, as price/
that would greatly benefit, in the form of application perfor 25 performance for microprocessors improved designers began
mance per transistor, from the ability to draw upon a far building machines from large collections of communicating
greater fraction of the computing power inherent in those microprocessors. These MIMD machines are fast and can
million transistors. Current architectures for general purpose have price/performance comparable to their component
computing fail to deliver this power.                                microprocessors, but they exhibit the same inefficiency as
    Because of the weaknesses of conventional computers, 30 those components in that they deliver to their software rela
Such as typical microprocessors, other kinds of computers tively little computation per transistor.
have been developed to attain higher performance. These                 Field Programmable Gate Arrays (FPGAs) are integrated
machines include single instruction stream/multiple data circuits containing a large grid of general purpose digital
stream (SIMD) designs, multiple instruction stream/multiple elements with reconfigurable wiring between those elements.
data stream (MIMD) designs, reconfigurable architectures 35 The elements originally were single digital gates, such as
Such as field programmable gate arrays (FPGAs), and graph AND and OR gates, but evolved to larger elements that could,
ics processing unit designs (GPUs) which, when applied to for instance, be programmed to map 6 inputs to 1 output
general purpose computing, may be viewed as single instruc according to any Boolean function. This architecture allows
tion stream/multiple thread (SIMT) designs.                          the FPGA to be configured from external sources to perform
    SIMD machines follow a sequential program, with each 40 a wide variety of digital computations, which allows the
instruction performing operations on a collection of data. device to be used as a co-processor to a CPU to accelerate
They come in two main varieties: vector processors and array computation. However, arithmetic operations such as multi
processors. Vector processors stream data through a process plication and division on integers, and especially on floating
ing element (or Small collection of Such elements). Each point numbers, require many gates and can absorb a large
component of the data stream is processed similarly. Vector 45 fraction of an FPGA's general purpose resources. For this
machines gain speed by eliminating many instruction fetch/ reason, modern FPGAs often devote a significant portion of
decode operations and by pipelining the processor So that the their area to providing dozens or hundreds of multiplier
clock speed of the operations is increased.                          blocks, which can be used instead of general purpose
   Array processors distribute data across a grid of processing resources for computations requiring multiplication. These
elements (PEs). Each element has its own memory. Instruc 50 multiplier blocks typically perform 18 bit or wider integer
tions are broadcast to the PEs from a central control until,         multiplies, and use many transistors, as similar multiplier
sequentially. Each PE performs the broadcast instruction on circuits do when they are part of a general purpose CPU.
its local data (often with the option to sit idle that cycle). Array    Existing Field Programmable Analog Arrays (FPAAs) are
processors gain speed by using silicon efficiently—using just analogous to FPGAs, but their configurable elements perform
one instruction fetch/decode unit to drive many Small simple 55 analog processing. These devices generally are intended to do
execution units in parallel.                                         signal processing, such as helping model neural circuitry.
   Array processors have been built using fixed point arith They are relatively low precision, have relatively low
metic at a wide variety of bit widths, such as 1, 4, 8, and wider, dynamic range, and introduce noise into computation. They
and using floating point arithmetic. Small bit widths allow the have not been designed as, or intended for use as, general
processing elements to be Small, which allows more of them 60 purpose computers. For instance, they are not seen by those
to fit in the computer, but many operations must be carried out having ordinary skill in the art as machines that can run the
in sequence to perform conventional arithmetic calculations. variety of complex algorithms with floating point arithmetic
Wider widths allow conventional arithmetic operations to be that typically run on high performance digital computers.
completed in a single cycle. In practice, wider widths are              Finally, Graphics Processing Units (GPUs) are a variety of
desirable. Machines that were originally designed with small 65 parallel processor that evolved to provide high speed graphics
bit widths, such as the Connection Machine-1 and the Good            capabilities to personal computers. They offer standard float
year Massively Parallel Processor, which each used 1 bit wide ing point computing abilities with very high performance for
       Case 1:19-cv-12551-FDS Document 510-2 Filed 05/19/23 Page 16 of 30


                                                    US 8,407.273 B2
                                5                                                                6
certain tasks. Their computing model is sometimes based on          (LPHDR)    processing elements    to perform computations
having thousands of nearly identical threads of computing (such as arithmetic operations).
(SIMT), which are executed by a collection of SIMD-like               One variety of LPHDR arithmetic represents values from
internal computing engines, each of which is directed and one millionth up to one million with a precision of about
redirected to perform work for which a slow external DRAM 5 0.1%. If these values were represented and manipulated using
memory has provided data. Like other machines that imple the methods of floating point arithmetic, they would have
ment standard floating point arithmetic, they use many tran binary mantissas of no more than 10 bits plus a sign bit and
sistors for that arithmetic. They are as wasteful of those tran binary exponents of at least 5 bits plus a sign bit. However, the
sistors, in the sense discussed above, as are general purpose circuits to multiply and divide these floating point values
CPUS.                                                            10 would be relatively large. One example of an alternative
   Some GPUs include support for 16 bit floating point values embodiment is to use a logarithmic representation of the
(sometimes called the “Half format). The GPU manufactur values. In Such an approach, the values require the same
ers, currently such as NVIDIA or AMD/ATI, describe this number of bits to represent, but multiplication and division
capability as being useful for rendering images with higher are implemented as addition and Subtraction, respectively, of
dynamic range than the usual 32 bit RGBA format, which 15 the logarithmic representations. Addition and Subtraction
uses 8 bits of fixed point data per color, while also saving may be implemented efficiently as described below. As a
space over using 32 bit floating point for color components. result, the area of the arithmetic circuits remains relatively
The special effects movie firm Industrial Light and Magic Small and a greater number of computing elements can be fit
(ILM) independently defined an identical representation in into a given area of silicon. This means the machine can
their OpenEXR standard, which they describe as “a high perform a greater number of operations per unit of time or per
dynamic-range (HDR) image file format developed by Indus unit power, which gives it an advantage for those computa
trial Light & Magic for use in computer imaging applica tions able to be expressed in the LPHDR framework.
tions.” Wikipedia (late 2008) describes the 16 bit floating           Another embodiment is to use analog representations and
point representation thusly: “This format is used in several processing mechanisms. Analog implementation of LPHDR
computer graphics environments including OpenEXR, 25 arithmetic has the potential to be Superior to digital imple
OpenGL, and D3DX. The advantage over 8-bit or 16-bit mentation, because it tends to use the natural analog physics
binary integers is that the increased dynamic range allows for of transistors or other physical devices instead of using only
more detail to be preserved in highlights and shadows. The the digital subset of the devices behavior. This fuller use of
advantage over 32-bit single precision binary formats is that it the devices natural abilities may permit Smaller mechanisms
requires half the storage and bandwidth.”                        30 for doing LPHDRarithmetic. In recent years, in the field of
   When a graphics processor includes support for 16 bit silicon circuitry, analog methods have been Supplanted by
floating point, that support is alongside support for 32 bit digital methods. In part, this is because of the ease of doing
floating point, and increasingly, 64bit floating point. That is, digital design compared to analog design. Also in part, it is
the 16 bit floating point format is supported for those appli because of the continued rapid scaling of digital technology
cations that want it, but the higher precision formats also are 35 (“Moore's Law') compared to analog technology. In particu
supported because they are believed to be needed for tradi lar, at deep Submicron dimensions, analog transistors no
tional graphics applications and also for so called "general longer work as they had in prior generations of larger-scale
purpose GPU applications. Thus, existing GPUs devote sub technology. This change of familiar behavior has made ana
stantial resources to 32 (and increasingly 64) bit arithmetic log design still harder in recent years. However, digital tran
and are wasteful of transistors in the sense discussed above. 40 sistors are in fact analog transistors used in a digital way,
   The variety of architectures mentioned above are all meaning digital circuits are really analog circuits designed to
attempts to get more performance from silicon than is avail attempt to Switch the transistors between completely on and
able in a traditional processor design. But designers of tradi completely off states. As Scaling continues, even this use of
tional processors also have been struggling to use the enor transistors is starting to come face to face with the realities of
mous increase in available transistors to improve 45 analog behavior. Scaling of transistors for digital use is
performance of their machines. These machines often are expected either to stall or to require digital designers increas
required, because of history and economics, to Support large ingly to acknowledge and work with analog issues. For these
existing instruction sets, such as the Intel x86 instruction set. reasons, digital embodiments may no longer be easy, reliable,
This is difficult, because of the law of diminishing returns, and scalable, and analog embodiments of LPHDRarithmetic
which does not enable twice the performance to be delivered 50 may come to dominate commercial architectures.
by twice the transistor count. One facet of these designers           Because LPHDR processing elements are relatively small,
struggle has been to increase the precision of arithmetic a single processor or other device may include a very large
operations, since transistors are abundant and some applica number of LPHDR processing elements, adapted to operate
tions could be sped up significantly if the processor natively in parallel with each other, and therefore may constitute a
supported long (e.g., 64bit) numbers. With the increase of 55 massively parallel LPHDR processor or other device. Such a
native fixed point precision from 8 to 16 to 32 to 64bits, and processor or other device has not been described or practiced
of floating point from 32 to 64 and sometimes 128 bits, as a means of doing general purpose computing by those
programmers have come to think in terms of high precision having ordinary skill in the art for at least two reasons. First,
and to develop algorithms based on the assumption that com it is commonly believed by those having ordinary skill in the
puter processors provide Such precision, since it comes as an 60 art, that LPHDR computation, and in particular massive
integral part of each new generation of silicon chips and thus amounts of LPHDR computation, whether performed in a
is “free.                                                           massively parallel way or not, is not practical as a Substrate
   Embodiments of the present invention efficiently provide for moderately general computing. Second, it is commonly
computing power using a fundamentally different approach believed by those having ordinary skill in the art that massive
than those described above. In particular, embodiments of the 65 amounts of even high precision computation on a single chip
present invention are directed to computer processors or other or in a single machine, as is enabled by a compact arithmetic
devices which use low precision high dynamic range processing unit, is not useful without a corresponding
       Case 1:19-cv-12551-FDS Document 510-2 Filed 05/19/23 Page 17 of 30


                                                     US 8,407.273 B2
                           7                                                                        8
increase in bandwidth between processing elements within            example, embodiments of the present invention may be
the machine and into and out of the machine because com             implemented as GPU/SIMTs and as MIMDs, among others.
puting is wire limited and arithmetic can be considered to be For example, embodiments of the present invention may be
available at no cost.                                               implemented as any kind of machine which uses LPHDR
   Despite these views—that massive amounts of arithmetic 5 arithmetic processing elements to provide computing using a
on a chip or in a massively parallel machine are not useful, and Small amount of resources (e.g., transistors or Volume) com
that massive amounts of LPHDRarithmetic are even worse—             pared with traditional architectures. Furthermore, references
embodiments of the present invention disclosed herein dem herein to “processing elements' within embodiments of the
onstrate that massively parallel LPHDR designs are in fact present invention should be understood more generally as any
useful and provide significant practical benefits in at least 10 kind of execution unit, whether for performing LPHDR
several significant applications.                                   operations or otherwise.
   To conclude, modern digital computing systems provide              An example SIMD computing system 100 is illustrated in
high precision arithmetic, but that precision is costly. A mod FIG. 1. The computing system 100 includes a collection of
ern double precision floating point multiplier may require on many processing elements (PEs) 104. Sometimes present are
the order of a million transistors, even though only a handful 15 a control unit (CU) 106, an I/O unit (IOU) 108, various
of transistors is required to perform a low precision multipli Peripheral devices 110, and a Host computer 102. The col
cation. Despite the common belief among those having ordi lection of PEs is referred to herein as “the Processing Element
nary skill in the art that modern applications require high Array' (PEA), even though it need not be two-dimensional or
precision processing, in fact a variety of useful algorithms an array or grid or other particular layout. Some machines
functionadequately at much lowerprecision. As a result, Such 20 include additional components, such as an additional
algorithms may be performed by processors or other devices memory system called the “Staging Memory” in the Good
implemented according to embodiments of the present inven year MPP, but these additional elements are neither essential
tion, which come closer to achieving the goal of using a few in the computernor needed to understand embodiments of the
transistors to multiply and a wire junction to add, thus present invention and therefore are omitted here for clarity of
enabling massively parallel arithmetic computation to be per- 25 explanation. One embodiment of the present invention is a
formed with relatively small amounts of physical resources SIMD computing system of the kind shown in FIG. 1, in
(such as a single silicon chip). Although certain specialized which one or more (e.g., all) of the PEs in the PEA 104 are
tasks can function at low precision, it is not obvious, and in LPHDR elements, as that term is used herein.
fact has been viewed as clearly false by those having ordinary        The Host 102 is responsible for overall control of the
skill in the art, that relatively general purpose computing Such 30 computing system 100. It performs the serial, or mostly serial,
as is typically performed today on general purpose computers computation typical of a traditional uni-processor. The Host
can be done at low precision. However, in fact a variety of 102 could have more complicated structure, of course, includ
useful and important algorithms can be made to function ing parallelism of various sorts. Indeed a heterogeneous com
adequately at much lower than 32bit precision in a massively puting system combining multiple computing architectures
parallel computing framework, and certain embodiments of 35 in a single machine is a good use for embodiments of the
the present invention Support such algorithms, thereby offer present invention.
ing much more efficient use of transistors, and thereby pro           A goal of the Host 102 is to have the PEA 104 perform
vide improved speed, power, and/or cost, compared to con massive amounts of computation in a useful way. It does this
ventional computers.                                                by causing the PEs to perform computations, typically on data
   Various computing devices implemented according to 40 stored locally in each PE, in parallel with one another. If there
embodiments of the present invention will now be described. are many PES, much work gets done during each unit of time.
Some of these embodiments may be an instance of a SIMD                The PEs in the PEA 104 may be able to perform their
computerarchitecture. Other architectures may be used. Such individual computations roughly as fast as the Host 102 per
as MIMD architectures, programmable array architectures forms its computations. This means it may be inefficient to
(such as FPGAs and FPAAS), or GPU/SIMT architectures. 45 have the Host 102 attempt to control the PEA 104 on a time
The techniques disclosed herein may, for example, be imple scale as fine as the Hosts or PEA’s minimal time step. (This
mented using any processor or other device having such an minimal time, in a traditional digital design, would be the
existing architecture, and replacing or augmenting some orall clock period.) For this reason, the specialized control unit
existing arithmetic units in the processor or other device, if (CU) 106 may be included in the architecture. The CU 106
any, with LPHDR arithmetic units in any of the ways dis- 50 has the primary task of retrieving and decoding instructions
closed herein. Devices implemented according to embodi from an instruction memory, which conceptually is part of the
ments of the present invention, however, need not start with an CU 106, and issuing the partially decoded instructions to all
existing processor design, but instead may be designed from the PEs in the PEA 104. (This may be viewed by the CU
scratch to include LPHDRarithmetic units within any of the Software as happening roughly simultaneously for all the PEs,
architectures just described, or any other architecture.         55 though it need not literally be synchronous, and in fact it may
   Embodiments of the present invention may, for example, be effective to use an asynchronous design in which multiple
be implemented using the architecture of a particular kind of instructions at different stages of completion simultaneously
SIMD computer, the array processor. There are many varia propagate gradually across the PEA, for instance as a series of
tions and specific instances of array processors described in wave fronts.)
the Scientific and commercial literature. Examples include 60 In a design which includes the CU 106, the Host 102
the Illiac 4, the Connection Machine 1 and 2, the Goodyear typically will load the instructions (the program) for the PEA
MPP, and the MasParline of computers.                               104 into the CU instruction memory (not shown in FIG. 1),
   Embodiments of the present invention need not, however, then instruct the CU 106 to interpret the program and cause
be implemented as SIMD computers. For example, embodi the PEA 104 to compute according to the instructions. The
ments of the present invention may be implemented as 65 program may, for example, look generally similar to a typical
FPGAs, FPAAs, or related architectures that provide for flex machine language program, with instructions to cause data
ible connectivity of a set of processing elements. For movement, logical operations, arithmetic operations, etc., in
       Case 1:19-cv-12551-FDS Document 510-2 Filed 05/19/23 Page 18 of 30


                                                      US 8,407.273 B2
                                                                                                10
and between the PEs and other instructions to do similar           edges of the PE array 104. In this case, to get data out of, and
operations together with control flow operations within the        perhaps into, the PEA 104, the data is read and written at the
CU 106. Thus, the CU 106 may run a typical sort of program,        edges of the array and CU instructions are performed to shift
but with the ability to issue massively parallel instructions to   data between the edges and interior of the PEA 104. The
the PEA 104.                                                       design may permit data to be pushed from the IOU 108
   In order to get data into and out of the CU 106 and PEA         inward to any PE in the array using direct connections, but
104, the I/O Unit 108 may interface the CU 106 and PEA 104         may require readout to occur by using the CU 106 to shift data
with the Host 102, the Host's memory (not shown in FIG. 1),        to the edges where it can be read by the IOU 108.
and the systems Peripherals 110, such as external storage             Connections between the CU 106 and PEA104 have analo
(e.g., disk drives), display devices for visualization of the 10 gous variations. One design may include the ability to drive
computational results, and sometimes special high bandwidth instructions into all the PEs roughly simultaneously, but
input devices (e.g., vision sensors). The PEA’s ability to another approach is to have the instructions flow gradually
process data far faster than the Host 102 makes it useful for
the IOU 108 to be able to completely bypass the Host 102 for (for instance, shift in discrete time steps) across the PEA 104
some of its data transfers. Also, the Host 102 may have its own 15 to reach the PEs. Some SIMD designs, which may be imple
ways of communicating with the Peripherals 110.                    mented in embodiments of the present invention, have a facil
   The particular embodiment illustrated in FIG. 1 is shown ity by which a “wired-or' or “wired-and” of the state of every
merely for purposes of example and does not constitute a PE in the PEA 104 can be read by the CU 106 in approxi
limitation of the present invention. For example, alternatively mately one instruction delay time.
the functions performed by the CU 106 could instead be                There are many well studied variations on these matters in
performed by the Host 102 with the CU 106 omitted. The CU the literature, any of which may be incorporated into embodi
106 could be implemented as hardware distant from the PEA ments of the present invention. For example, an interconnect,
104 (e.g., off-chip), or the CU 106 could be near to the PEA Such as an 8-way local interconnect, may be used. The local
104 (e.g., on-chip). I/O could be routed through the CU 106 connections may include a mixture of various distance hops,
with the IOU 108 omitted or through the separate I/O con 25 Such as distance 4 or 16 as well as distance 1. The outside
troller 108, as shown. Furthermore, the Host 102 is optional; edges may be connected using any topology, such as a torus or
the CU 106 may include, for example, a CPU, or otherwise twisted torus. Instead of or in addition to a local interconnect,
include components sufficient to replace the functions per a more complex global interconnect, such as the hypercube
formed by the Host 102. The Peripherals 110 shown in FIG. design, may be used. Furthermore, the physical implementa
1 are optional. The design shown in FIG. 1 could have a 30 tion of the PEA 104 (e.g., a chip) could be replicated (e.g.,
special memory, such as the Goodyear MPPs “staging tiled on a circuit board) to produce a larger PEA. The repli
memory,” which provides an intermediate level of local stor cation may form a simple grid or other arrangement, just as
age. Such memory could, for example, be bonded to the the component PEAS may but need not be grids.
LPHDR chip using 3D fabrication technology to provide                 FIG. 4 shows an example design for a PE 400 (which may
relatively fast parallel access to the memory from the PEs in 35 be used to implement any one or more of the PEs in the PEA
the PEA 104.                                                       104). The PE400 stores local data. The amount of memory for
   The PEA 104 itself, besides communicating with the CU the local data varies significantly from design to design. It
106 and IOU 108 and possibly other mechanisms, has ways may depend on the implementation technologies available for
for data to move within the array. For example, the PEA 104 fabricating the PE 400. Sometimes rarely changing values
may be implemented such that data may move from PEs only 40 (Constants) take less room than frequently changing values
to their nearest neighbors, that is, there are no long distance (Registers), and a design may provide more Constants than
transfers. FIGS. 2 and 3 show embodiments of the present Registers. For instance, this may be the case with digital
invention which use this approach, where the nearest neigh embodiments that use single transistor cells for the Constants
bors are the four adjacent PEs toward the North, East, West,       (e.g., floating gate Flash memory cells) and multiple transis
and South, called a NEWS design. For example, FIG. 2 shows 45 tor cells for the Registers (e.g., 6-transistor SRAM cells).
a subset of the PEs in PEA 104, namely PE202, PE 204, PE Sometimes the situation is reversed, as may be the case in
206, PE 208, and PE 210. When the CU 106 issues data               analog embodiments, where Substantial area for capacitance
movement instructions, all the PEs access data from or send        may be needed to ensure stable long term storage of Con
data to their respective specified nearest neighbor. For stants, and Such embodiments may have more Registers than
instance, every PE might access a specified data value in its 50 Constants. Typical storage capacities might be tens or hun
neighbor to the West and copy it into its own local storage. In dreds of arithmetic values stored in the Registers and Con
Some embodiments, such as some analog embodiments, these stants in each PE, but these capacities are adjustable by the
kinds of transferS may result in Some degradation of the value designer. Some designs, for instance, may have Register Stor
copied.                                                            age but no Constant storage. Some designs may have thou
   FIG.3 shows a PE302 that includes data connections to the 55 sands or even many more values stored in each PE. All of
IOU 108. PE 302 is connected at the North to PE 304, at the        these variations may be reflected in embodiments of the
East to PE306, at the South to PE 308, and at the West to PE       present invention.
310. However, driving signals from inside the PEA104 out to           Each PE needs to operate on its local data. For this reason
the IOU 108 usually requires a physically relatively large within the PE400 there are data paths 402a-i, routing mecha
driving circuit or analogous mechanism. Having those at 60 nisms (such as the multiplexor MUX 404), and components
every PE may absorb much of the available resources of the to perform Some collection of logical and arithmetic opera
hardware implementation technology (such as VLSI area). In tions (such as the logic unit 406 and the LPHDR arithmetic
addition, having independent connections from every PE to unit 408). The LPHDRarithmetic unit 408 performs LPHDR
the IOU. 108 means many Such connections, and long con arithmetic operations, as that term is used herein. The input,
nections, which also may absorb much of the available hard 65 output, and intermediate “values' received by, output by, and
ware resources. For these reasons, the connections between         operated on by the PE400 may, for example, take the form of
the PEs and the IOU 108 may be limited to those PEs at the electrical signals representing numerical values.
       Case 1:19-cv-12551-FDS Document 510-2 Filed 05/19/23 Page 19 of 30


                                                      US 8,407.273 B2
                                11                                                                  12
   The PE400 also may have one or more flag bits, shown as corresponds to about a 1% change in the value B. If fractions
Mask 410 in FIG. 4. The purpose of the Mask 410 is to enable are represented using 6 bits, increasing or decreasing the
some PEs, the ones in which a specified Mask bit is set, to fraction by 1 corresponds to multiplying or dividing B by the
ignore some instructions issued by the CU 106. This allows 64th root of2, which is approximately 1.011. This means that
some variation in the usual lock-step behaviors of all PEs in numbers may be represented in the present embodiment with
the PEA 104. For instance, the CU 106 may issue an instruc a multiplicative error of approximately 1%. So, in this
tion that causes each PE to reset or set its Mask 410 depending example embodiment the fraction part of the representation
on whether a specified Register in the PE is positive or nega has 6 bits.
tive. A Subsequent instruction, for instance an arithmetic              Furthermore, the space of values processed in the present
instruction, may include a bit meaning that the instruction 10 embodiment have high dynamic range. To represent numbers
should be performed only by those PEs whose Mask 410 is
reset. This combination has the effect of conditionally per whose            absolute value is from, say, one billionth to one billion,
forming the arithmetic instruction in each PE depending on the            integer part of the logarithm must be long enough to
whether the specified Register in that PE was positive. As represent plus or minus the base 2 logarithm of one billion.
with the Compare instructions of traditional computers, there 15 That logarithm is about 29.9. In the present embodiment the
are many possible design choices for mechanisms to set and integer part of the logarithm representation is 5 bits long to
clear Masks.                                                         represent values from 0 to 31, which is sufficient. There also
   The operation of the PEs is controlled by control signals is a sign bit in the exponent. Negative logarithms are repre
412a-d received from the CU 106, four of which are shown in          sented using two’s complement representation.
FIG. 4 merely for purposes of example and not limitation. We            In an LNS, the value Zero corresponds to the logarithm
have not shown details of this mechanism, but the control            negative infinity. One can choose a representation to explic
signals 412a-d specify which Register or Constant memory itly represent this special value. However, to minimize
values in the PE400 or one of its neighbors to send to the data resources (for instance, area) used by arithmetic circuits, the
paths, which operations should be performed by the Logic present embodiment represents Zero by the most negative
406 or Arithmetic 408 or other processing mechanisms, 25 possible logarithm, which is -32, corresponding to the two’s
where the results should be stored in the Registers, how to set, complement bit representation 100000 000000, and denot
reset, and use the Mask 410, and so on. These matters are well       ing a value of approximately 2.33E-10.
described in the literature on SIMD processors.                         When computing, situations can arise in which operations
   Many variations of this PE 400 and PEA design are pos cannot produce reasonable values. An example is when a
sible and fall within the scope of the present invention. Digital 30 number is too large to be represented in the chosen word
PEs can have shifters, lookup tables, and many other mecha format, such as when multiplying or adding two large num
nisms such as described in the literature. Analog PEs can have bers or upon divide by Zero (or nearly zero). One common
time-based operators, filters, comparators with global broad approach to this problem is to allow a value to be marked as
cast signals and many other mechanisms such as described in Not A Number (NAN) and to make sure that each operation
the literature. The PEA 104 can include global mechanisms 35 produces NAN if a problem arises or if either of its inputs is
such as wired-OR or wired-AND for digital PEAS or wired NAN. The present embodiment uses this approach, as will be
SUM for analog PEAS Again, there are many variations well described in the following.
described in the literature on digital and analog computing             FIG.5 shows the word format 500 for these numbers, in the
architectures.                                                       present embodiment. It has one NAN bit 502a, one bit 502b
   For example, LPHDR operations other than and/or in addi 40 for the sign of the value, and 12 bits 502c-e representing the
tion to addition and multiplication may be supported. For logarithm. The logarithm bits include a 5 bit integer part 502d
example, a machine which can only perform multiplication and a 6 bit fraction part 502e. To permit the logarithms to be
and the function (1-X) may be used to approximate addition negative, there is a sign bit 502c for the logarithm which is
and other arithmetic operations. Other collections of LPHDR represented in two’s complement form. The NAN bit is set if
operations may be used to approximate LPHDR arithmetic 45 Some problem has arisen in computing the value. The word
operations, such as addition, multiplication, Subtraction, and format 500 shown in FIG. 5 is merely an example and does
division, using techniques that are well-known to those hav not constitute a limitation of the present invention. Other
ing ordinary skill in the art.                                       variations may be used, so long as they have low precision and
   One aspect of embodiments of the present invention that is high dynamic range.
unique is the inclusion of LPHDRarithmetic mechanisms in 50 FIG. 6 shows an example digital implementation of the
the PEs. Embodiments of such mechanisms will now be                  LPHDRarithmetic unit 408 for the representation illustrated
described.                                                           in FIG. 5. The unit 408 receives two inputs. A 602a and B
   One digital embodiment of the LPHDRarithmetic unit 408 602b, and produces an output 602C. The inputs 602a-b and
operates on digital (binary) representations of numbers. In output 602c may, for example, take the form of electrical
one digital embodiment these numbers are represented by 55 signals representing numerical values according to the repre
their logarithms. Such a representation is called a Logarith sentation illustrated in FIG. 5, as is also true of signals trans
mic Number System (LNS), which is well-understood by mitted within the unit 408 by components of the unit 408. The
those having ordinary skill in the art.                              inputs 602a-band output 602c each are composed of a Value
   In an LNS, numbers are represented as a sign and an and a NAN (Not A Number) bit. The unit 408 is controlled by
exponent. There is an implicit base for the logarithms, typi 60 control signals 412a-d, coming from the CU 106, that deter
cally 2 when working with digital hardware. In the present mine which available arithmetic operation will be performed
embodiment, a base of 2 is used for purposes of example. As on the inputs 602a-b. In this embodiment, all the available
a result, a value, say B, is represented by its sign and a base 2 arithmetic operations are performed in parallel on the inputs
logarithm, say b, of its absolute value. For numbers to have 602a-b by adder/subtractor 604, multiplier 606, and divider
representation errors of at most, say, 1% (one percent), the 65 608. Adder/subtractor 604 performs LPHDR addition and
fractional part of this logarithm should be represented with subtraction, multiplier 606 performs LPHDR multiplication,
enough precision that the least possible change in the fraction and divider 608 performs LPHDR division.
       Case 1:19-cv-12551-FDS Document 510-2 Filed 05/19/23 Page 20 of 30


                                                      US 8,407.273 B2
                              13                                                                      14
   The desired result (from among the outputs of adder/sub            bit 410 if the 12 bit value part of the word on data path 402f is
tractor 604, multiplier 606, and divider 608) is chosen by the        equal to binary Zero. There are many additional and alterna
multiplexers (MUXes) 610a and 610b. The right hand MUX                tive ways for doing this that are directly analogous to com
610b sends the desired value to the output 602C. The left hand        parison instructions in traditional processors and which are
MUX 610a sends the corresponding NAN bit from the                     well understood by those skilled in the art.
desired operation to the OR gate 612, which outputs a set                It is worth noting that while the obvious method of using
NAN bit if either input is NAN or if the specified arithmetic         the above LNS operations is to do LPHDR arithmetic, the
operation yields NAN. The computing architecture literature           programmer also may consider selected values to be 12 bit
discusses many variations which may be incorporated into the          two's complement binary numbers. MUL and DIV may be
embodiment illustrated in FIG. 6.                                  10 used to add and Subtract such values, since that is precisely
   LNS arithmetic has the great advantage that multiplication their behavior in LNS implementations. The Mask setting
(MUL) and division (DIV) are very easy to compute and take instructions can compare these simple binary values. So
few physical resources (e.g., little area in a silicon implemen besides doing LPHDR computations, this digital embodi
tation). The sign of the result is the exclusive-or of the signs of ment using LNS can perform simple binary arithmetic on
the operands. The logarithm part of the output is the Sum, in 15 short signed integers.
the case of MUL, or the difference, in the case of DIV, of the           Some embodiments of the present invention may include
logarithm parts of the operands. The sum or difference of the analog representations and processing methods. Such
logarithms can overflow, producing a NAN result. Certain embodiments may, for example, represent LPHDR values as
other operations also are easy in LNS arithmetic. For charges, currents, Voltages, frequencies, pulse widths, pulse
instance, square root corresponds to dividing the logarithm in densities, various forms of spikes, or in other forms not char
half, which in our representation means simply shifting it one acteristic of traditional digital implementations. There are
bit position to the right.                                            many such representations discussed in the literature, along
   Thus, the multiplier 606 and divider 608 in FIG. 6 are with mechanisms for processing values so represented. Such
implemented as circuits that simply add or Subtract their methods, often called Analog methods, can be used to per
inputs, which are two’s complement binary numbers (which 25 form LPHDR arithmetic in the broad range of architectures
in turn happen to be logarithms). If there is overflow, they we have discussed, of which SIMD is one example.
output a 1 for NAN.                                                      An example of an analog SIMD architecture is the SCAMP
   Implementing addition and subtraction in LNS, that is, the design (and related designs) of Dudek. In that design values
adder/subtractor 604 in FIG. 6, follows a common approach have low dynamic range, being accurate roughly to within
used in the literature on LNS. Consider addition. If we have 30 1%. Values are represented by charges on capacitors. Those
two positive numbers Band C represented by their logarithms capacitors typically are the gates of transistors. Each PE has
band c, the representation of the sum of Band C is log(B+C). several memory cells, analogous to the Registers shown in
An approach to computing this result that is well known to FIG. 4. Addition is performed by turning on pass transistors
those skilled in the art is based on noticing that log(B+C)—log from the two operands, which transfer their charge onto an
(B*(1+C/B))—log(B)+log(1+C/B)=b+F(c-b) where F(x) 35 analog bus, where it is Summed by the natural physics of
-log(1+2x). Thus, the present embodiment computes c-b. charge and wires, upon which it is gated onto another Register
feeds that through F. and adds the result to b, using standard to charge up its capacitor, which then represents the sum of
digital techniques known to those skilled in the art.                 the operands. The detailed mechanism disclosed by Dudek
   Much of the published literature about LNS is concerned actually produces the negative of the Sum, but the basic con
with how to compute F(x), the special function for ADD, 40 cept is as described and is a simple way to perform addition
along with a similar function for SUB. Often these two func and Subtraction using analog representations and simple pro
tions share circuitry, and this is why a single combined adder/ cessing mechanisms.
subtractor 604 is used in the embodiment of FIG. 6. There are            Variations of the SCAMP design have been fabricated and
many published ways to compute these functions or approxi used to perform a range of low precision, low dynamic range
mations to them, including discussions of how to do this when 45 computations related to image processing. These designs do
the values are of low precision. Any such method, or other not perform high dynamic range arithmetic, nor do they
method, may be used. Generally speaking, the more appro include mechanisms for performing multiplication or divi
priate variations for massively parallel LPHDRarithmetic are sion of values stored in Registers. However, the Dudek
those that require the minimal use of resources, such as circuit designs suggest the general feasibility of constructing analog
area, taking advantage of the fact that the representation used 50 SIMD machines. The following describes how to build an
in the embodiment of FIG. 6 is low precision and that the analog SIMD machine that performs LPHDRarithmetic, and
arithmetic operations need not be deterministic nor return the is thus an embodiment of the present invention.
most accurate possible answer within the low precision rep               One embodiment of the present invention represents values
resentation. Thus, embodiments of the present invention may as a mixture of analog and digital forms. This embodiment
use circuitry that does not compute the best possible answer, 55 represents values as low precision, normalized, base 2 float
even among the limited choices available in a low precision ing point numbers, where the mantissa is an analog value and
representation.                                                       the exponent is a binary digital value. The analog value may
   In order to enable conditional operation of selected PEs, be accurate to about 1%, following the approach of Dudek,
the present embodiment is able to reset and set the MASK flag which is well within the range of reasonable analog process
410 based on results of computations. The mechanism for 60 ing techniques. The exponent may be 6 bits long, or whatever
doing this is that the CU 106 includes instructions that cause is needed to provide the desired high dynamic range.
the MASK 410 in each PE to unconditionally reset or set its              To multiply values, the embodiment proceeds by analogy
flag along with other instructions to perform basic tests on to traditional floating point methods. The digital exponents
values entering the MASK410 on data path 402f and to set the are Summed using a binary arithmetic adder, a standard digital
flag accordingly. Examples of these latter instructions include 65 technique. The analog mantissas are multiplied. Since they
copying the sign bit or NAN bit of the word on data path 402f represent normalized values between approximately /2 and 1.
into the MASK bit 410. Another example is to set the MASK their product may be as Small as approximately /4. Such a
        Case 1:19-cv-12551-FDS Document 510-2 Filed 05/19/23 Page 21 of 30


                                                       US 8,407.273 B2
                               15                                                                 16
product value needs to be normalized back to the range /2 to         accuracy of the exponents, an embodiment may quantize the
1. This is done, in the present embodiment, by comparing the         exponent to relatively few levels, for instance 16 values plus
analog mantissa to an analog representation of /2, using a           a sign bit. During processing, slight variations in the analog
threshold circuit. If the mantissa is below /2, then it is doubled   representation of the exponent may then be removed by cir
and one is subtracted from the exponent, where such subtrac          cuitry that restores values to the 16 standard quantization
tion is simple digital Subtraction. Doubling the mantissa is         levels. To get Sufficient dynamic range in Such an embodi
implemented in a way that corresponds to the chosen analog           ment, the floating point numbers may be processed as base 4
representation. For example, whatever means are being used numbers, rather than the usual base 2 numbers. This means,
to add two analog values can be used to double the mantissa, for instance, that normalized mantissas are in the range 4 to
by adding it to a copy of itself. For example, if the mantissa is 10 1. The methods discussed above for addition, subtraction, and
represented as a current. Such as copy may be produced by a multiplication apply as described, with slight and straightfor
current mirror, or other Suitable mechanism, and addition             ward variations.
may be performed by a current Summing junction.
    The means of multiplying the original analog mantissas               The analog and mixed signal embodiments discussed
depends on the representation chosen. For example, if man 15 above are merely examples and do not constitute a limitation
tissas are represented using charge, following SCAMP, then of the present invention. The published literature on neuro
any known method from the literature may be used to convert morphic, analog, and mixed signal techniques provides a
charge to current. For instance, since the charge on a capacitor wealth of methods that enable LPHDR storage and process
determines the Voltage on the capacitor, this may be imple ing to be implemented. Such storage and processing may
mented as a conversion from Voltage to current, which is a introduce noise as well as fabrication errors into the behavior
basic technique in analog electronics known to those skilled of machines performing LPHDR arithmetic. The results we
in the art. In any case, if the mantissas are represented as present below, on Software applications running using “fp+
currents, or once the mantissas are converted to currents, they noise' arithmetic, show that despite these very “un-digital
may be multiplied using, for instance, the techniques of Gil qualities a machine built in this way is Surprisingly useful.
bert. The Gilbert multiplier produces a current, representing 25 Evidence that LPHDR arithmetic is useful in several
the product, which may, if necessary, then be converted back important practical computing applications will now be pro
to charge (or whatever representation is used). These are vided. The evidence is presented for a broad variety of
merely examples of how the needed operations might be embodiments of the present invention, thereby showing that
performed. The literature discusses these matters extensively the usefulness does not depend much on the detailed imple
and these kinds of analog circuits are known to those skilled 30 mentation.
in the art.                                                              For the goal of showing usefulness, we choose a very
    Adding and subtracting values requires pre-normalization general embodiment of an LPHDR machine. Our model of
of the values to the same exponent, as is done in traditional the machine is that it provides at least the following capabili
digital floating point arithmetic. The present embodiment ties: (1) is massively parallel, (2) provides LPHDRarithmetic
does this by comparing the exponents and choosing the 35 possibly with noise, (3) provides a small amount of memory
smaller one. Then the smaller one is subtracted from the              local to each arithmetic unit, (4) provides the arithmetic/
larger, using digital means. The difference specifies how memory units in a two-dimensional physical layout with only
many times the mantissa which corresponds to the Smaller local connections between units (rather than some more pow
exponent needs to be divided in half. If that mantissa is erful, flexible, or Sophisticated connection mechanism), and
represented by (or converted to) a current, then an analog 40 (5) provides only limited bandwidth between the machine
R-2R style ladder may be used to divide the current in half the and the host machine. Note that this model is merely an
required number of times, with the stage of the ladder speci example which is used for the purpose of demonstrating the
fied by the difference of exponents calculated as above. The utility of various embodiments of the present invention, and
resulting scaled down current is added to (or Subtracted from, does not constitute a limitation of the present invention. This
if this is an LPHDR subtraction operation) the current corre 45 model includes, among others, implementations that are digi
sponding to the mantissa associated with the larger exponent tal or analog or mixed, have Zero or more noise, have archi
to yield the output mantissa. The output exponent associated tectures which are FPGA-like, or SIMD-like, or MIMD-like,
with the output mantissa is the larger exponent. Post-normal or otherwise meet the assumptions of the model. More gen
ization may be needed at this point. If the output mantissa is eral architectures, such as shared memory designs, GPU-like
greater than 1, then it needs to be divided in half and the output 50 designs, or other Sophisticated designs Subsume this models
exponent needs to be incremented. If it is less than /2, then it capabilities, and so LPHDR arithmetic in those architectures
needs to be doubled enough times to exceed /2 and the output also is useful. While we are thus showing that LPHDRarith
exponent must be decremented correspondingly, which may metic is useful for a broad range of designs, of which SIMD
be performed by a series of threshold circuits, doubler cir is only an instance, for purpose of discussion below, we call
cuits, and associated decrementer circuits. These increments 55 each unit, which pairs memory with arithmetic, a Processing
and decrements of the binary digital exponent, and corre Element or “PE.
sponding doublings and halvings of the analog mantissa cur               Several applications are discussed below. For each, the
rent, are straightforward operations well known to those discussion shows (1) that the results are useful when compu
skilled in the art.                                                   tation is performed in possibly noisy LPHDRarithmetic, and
    The present embodiment represents the exponent as a digi 60 (2) that the computation can be physically laid out in two
tal binary number. Alternate embodiments may represent the dimensions with only local flow of data between units, only
exponent as an analog value. However, it is important that the limited memory within each unit, and only limited data flow
exponent be represented in storage and computation in Such a to/from the host machine, in Such a way that the computation
manner that neither noise nor other errors cause a change in makes efficient use of the machine’s resources (area, time,
the value it represents. Such changes in the exponent could 65 power). The first requirement is referred to as 'Accuracy” and
introduce factors of two (or in Some embodiments larger) the second requirement “Efficiency. Applications that meet
changes in the values of the stored numbers. To maintain both requirements running in this model will function well on
       Case 1:19-cv-12551-FDS Document 510-2 Filed 05/19/23 Page 22 of 30


                                                     US 8,407.273 B2
                              17                                                                    18
many kinds of LPHDR machines, and thus those machines                  We shall now show that approximate nearest neighbor is
are a broadly useful invention.                                     computable using embodiments of the present invention in a
   Applications are tested using two embodiments for the            way that meets the criteria of Accuracy and Efficiency.
machine’s arithmetic. One uses accurate floating point arith           Algorithm.
metic but multiplies the result of each arithmetic operation by        The following describes an algorithm which may be per
a uniformly chosen random number between 0.99 and 1.01.             formed by machines implemented according to embodiments
In the following discussion, this embodiment is denoted “fp+        of the present invention, Such as by executing Software
noise'. It may represent the results produced by an analog          including instructions for performing the algorithm. The
embodiment of the machine.                                          inputs to the algorithm area set of Examples and a Test vector.
                                                                 10 The algorithm seeks to find the nearest (or almost nearest)
   A second embodiment uses logarithmic arithmetic with a
value representation as shown in FIG. 5. The arithmetic is Example     In the
                                                                               to the Test.
                                                                               simplest   version of the algorithm, the number of
repeatable, that is, not noisy, but because of the short fraction Examples may be no
size it produces errors of up to approximately 1-2% in each vector must be shortlarger            than the number of PEs and each
                                                                                              enough to fit within a single PE's
operation. In the following discussion, this embodiment is 15 memory. The Examples are placed into the memories associ
denoted “Ins'. It may represent the results produced by a ated with the PEs, so that one Example is placed in each PE.
particular digital embodiment of the machine.                       Given a Test, the Test is passed through all the PEs, in turn.
   To demonstrate usefulness of embodiments of the inven            Accompanying the Test as it passes through the PES is the
tion, we shall discuss three computational tasks that are distance from the Test to the nearest Example found so far,
enabled by embodiments of the invention and which in turn along with information that indicates what PE (and thus what
enable a variety of practical applications. Two of the tasks are Example) yielded that nearest Example found so far. Each PE
related to finding nearest neighbors and the other is related to computes the distance between the Test and the Example
processing visual information. We shall describe the tasks,         stored in that PE's memory, and then passes along the Test
note their practical application, and then demonstrate that together with either the distance and indicator that was passed
each task is solvable using the general model described above 25 into this PE (if the distance computed by this PE exceeded the
and thus Solvable using embodiments of the present inven distance passed into the PE) or the distance this PE computed
tion.                                                               along with information indicating this PE's Example is the
                                                                    nearest so far (if the distance computed by this PE is less than
                          Application 1                             the distance passed into the PE). Thus, the algorithm is doing
                                                                 30 a simple minimization operation as the Test is passed through
                  Finding Nearest Neighbors                         the set of PEs. When the Test and associated information
                                                                    leave the last PE, the output is a representation of which PE
   Given a large set of vectors, called Examples, and a given (and Example) was closest to the Test, along with the distance
vector, called Test, the nearest neighbor problem (“NN') is to between that Example and the Test.
find the Example which is closest to Test where the distance 35 In a more efficient variant of this algorithm, the Test is first
metric is the square of the Euclidean distance (sum of squares passed along, for example, the top row, then every column
of distances between respective components).                        passes the Test and associated information downward, effec
   NN is a widely useful computation. One use is for data tively doing a search in parallel with other columns, and once
compression, where it is called “vector quantization'. In this the information reaches the bottom it passes across the bot
application we have a set of relatively long vectors in a “code 40 tom row computing a minimum distance Example of all the
book” (these are the Examples) and associated short code columns processed so far as it passes across the row. This
words (for instance the index of the vector in the code book). means that the time required to process the Test is propor
We move through a sequence of Vectors to be compressed, tional to (the greater of) the number of PEs in a row or column.
and for each such vector (Test), find the nearest vector in the        An enhancement of this algorithm proceeds as above but
code book and output the corresponding code word. This 45 computes and passes along information indicating both the
reduces the sequence of vectors to the shorter sequence of nearest and the second nearest Example found so far. When
code words. Because the code words do not completely this information exits the array of PEs, the digital processor
specify the original sequence of vectors, this is a lossy form of that is hosting the PE array computes (in high precision) the
data compression. Among other applications, it may be used distance between the Test and the two Examples indicated by
in speech compression and in the MPEG standards.                 50 the PE array, and the nearer of the two is output as the likely
   Another application of NN would be in determining nearest neighbor to the Test.
whether Snippets of video occur in a large video database.             Accuracy.
Here we might abstract frames of video from the snippet into           We expressed the arithmetic performed by the enhanced
feature vectors, using known methods, such as color histo algorithm described above as code in the C programming
grams, scale invariant feature extraction, etc. The Examples 55 language. That code computes both nearest neighbors, which
would be analogous feature vectors extracted from the video are discussed here, along with weighted scores, which are
database. We would like to know whether any vector from the discussed below.
snippet was close to any vector from the database, which NN            The C code performs the same set of arithmetic operations
can help us decide.                                                 in the same order using the same methods of performing
   In many applications of nearest neighbor, we would prefer 60 arithmetic as an actual implementation of the present inven
to find the true nearest neighbor but it is acceptable if we tion, Such as one implemented in hardware. It thus yields the
sometimes find another neighbor that is only slightly farther same results as the enhanced algorithm would yield when
away or if we almost always find the true nearest neighbor. running on an implementation of the present invention. (How
Thus, an approximate solution to the nearest neighbor prob the algorithm is organized to run efficiently on Such an imple
lem is useful, especially if it can be computed especially 65 mentation is discussed below in the section on Efficiency.)
quickly, or at low power, or with Some other advantage com             In particular, when computing the distance between the
pared to an exact solution.                                         Test and each Example, the code uses Kahan's method, dis
       Case 1:19-cv-12551-FDS Document 510-2 Filed 05/19/23 Page 23 of 30


                                                    US 8,407.273 B2
                              19                                                        20
cussed below, to perform the possibly long Summation            A  similar computation was then performed using “Ins'
required to form the Sum of the squares of the distances arithmetic. In this case, the results were:
between vector components of the Test and Example.              % fa.out 5 10 1000000 1000
   The C code contains several implementations for arith        Representation is LNS without noise.
metic, as discussed above. When compiled with “idefine fp'      Run 1. On 100 tests, 100(100.0%) matches and 0.15%
the arithmetic is done using IEEE standard floating point. If a       a SCO.     O.
command line argument is passed in to enable noisy arith        Run 2. On 100 tests, 100(100.0%) matches and 0.07%
metic, then random noise is added to the result of every              a SCO.     O.
calculation. This is the “fp+noise' form of arithmetic. When 10 Run 3. On 100 tests, 100(100.0%) matches and 0.08%
compiled without “idefine fp' the arithmetic is done using            a SCO.     O.
low precision logarithmic arithmetic with a 6 bit base-2 frac   Run 4. On 100 tests, 100(100.0%) matches and 0.09%
tion. This is the “Ins' form of arithmetic.                                a   SCO.    O.
   When the code was run it produced traces showing the              Run 5. On 100 tests, 100(100.0%) matches and 0.11%
results of the computations it performed. These traces, shown 15           a   SCO.    O.
below, show that with certain command line arguments the             Run 6. On 100 tests, 100(100.0%) matches and 0.16%
enhanced algorithm yielded certain results for LPHDR near                  a   SCO.    O.
est neighbor calculations. These results provide details show        Run 7. On 100 tests, 100(100.0%) matches and 0.07%
ing the usefulness of this approach. We shall discuss the                  a   SCO.    O.
results briefly here.                                                Run 8. On 100 tests, 100(100.0%) matches and 0.13%
   The first results are for “fp+noise'. Ten distinct runs were            a   SCO.    O.
performed. Each run generated one million random Example             Run 9. On 100 tests, 99(99.0%) matches and 0.17% mean
vectors of length five, where each component of each vector             SCO.     O.
was drawn from N(0,1)—the Gaussian (normal) distribution             Run 10. On 100 tests, 98(98.0%) matches and 0.16% mean
with mean Zero and standard deviation 1. Each run then 25               SCO.     O.
generated one hundred Test vectors of length five, where each       Average percentage of time LPHDR (with final DP correc
component of each vector also was drawn from N(0,1). For               tion) finds nearest example=99.70%.
each Test, the nearest neighbor was computed both according         Average score error between LPHDR and DP=0.12%.
to the enhanced algorithm above and according to the stan           The average percentage of matches was 99.7%, slightly
dard nearest neighbor method using high precision floating 30 worse than for “fp+noise'.
point arithmetic. A count was kept of the number of times the       The accuracy shown by the enhanced nearest neighbor
enhanced algorithm yielded the same result as the standard algorithm         using two forms of LPHDR arithmetic is surpris
floating point method. The results were as follows:              ing. To perform   many calculations sequentially with 1% error
   % fa.out 5 10 1000000 100 1
   Representation is Floating Point with noise.               35 and yet produce a final result with less than 1% error may
   Run 1. On 100 tests, 100(100.0%) matches and 0.81% proves     seem counter-intuitive. Nonetheless, the LPHDR arithmetic
         a SCO.      O.                                                  effective, and the accuracy shown is high enough to be
   Run 2. On 100 tests, 100(100.0%) matches and 0.84%            useful in applications for which approximate nearest neigh
        a   SCO.    O.                                             bor calculations are useful.
  Run 3. On 100 tests, 100(100.0%) matches and 0.98% 40           As an extreme case, a variant of fp+noise was tested in
        a   SCO.    O.                                         which the noise varied uniformly from +10% to -5%. Thus,
   Run 4. On 100 tests, 100(100.0%) matches and 0.81%          each arithmetic operation produced a result that was between
        a SCO.       O.                                        10% too large and 5% too small. The enhanced nearest neigh
   Run 5. On 100 tests, 100(100.0%) matches and 0.94%          bor algorithm, as described above, was performed where each
        a SCO.       O.                                     45 run generated 100,000 Example vectors. The surprising
   Run 6. On 100 tests, 100(100.0%) matches and 0.82%          results, below, show that even with this extreme level of
        a SCO.       O.                                        imprecise, noisy, and non-zero mean LPHDRarithmetic, use
   Run 7. On 100 tests, 100(100.0%) matches and 0.78%          ful results can be achieved.
        a SCO.       O.                                        Run 1. On 100 tests, 97(97.0%) matches.
   Run 8. On 100 tests, 100(100.0%) matches and 0.86% 50 Run 2. On 100 tests, 100(100.0%) matches.
        a SCO.       O.                                        Run 3. On 100 tests, 100(100.0%) matches.
   Run 9. On 100 tests, 100(100.0%) matches and 0.85%          Run 4. On 100 tests, 98(98.0%) matches.
        a SCO.       O.                                        Run 5. On 100 tests, 98(98.0%) matches.
   Run 10. On 100 tests, 99(99.0%) matches and 0.86% mean Run 6. On 100 tests, 99(99.0%) matches.
     SCO.      O.                                           55 Run 7. On 100 tests, 99(99.0%) matches.
   Average percentage of time LPHDR (with final DP correc Run 8. On 100 tests, 99(99.0%) matches.
     tion) finds nearest example=99.90%.                       Run 9. On 100 tests, 99(99.0%) matches.
   Average score error between LPHDR and DP=0.85%.             Run 10. On 100 tests, 99(99.0%) matches.
   The “mean score error values are considered below in the    Average percentage of time LPHDR (with final DP correc
discussion of weighted scores. The “matches' information is 60 tion) finds nearest example=98.80%.
relevant here.                                                    Efficiency.
   Of the ten runs, only one had any test, of the 100 tests       In contrast to the Surprising Accuracy results, it is clear to
performed, which yielded a nearest neighbor different from those having ordinary skill in the art that the calculations of
what the usual high precision method yielded. Thus, the aver the enhanced nearest neighbor algorithm can be performed
age percentage of matches between the enhanced algorithm 65 efficiently in the computing model presented, where the arith
running with “fp+noise' arithmetic and the usual method was metic/memory units are connected in a two-dimensional
99.9%.                                                         physical layout, using only local communication between
       Case 1:19-cv-12551-FDS Document 510-2 Filed 05/19/23 Page 24 of 30


                                                      US 8,407.273 B2
                             21                                                                    22
PEs. However, this does not address the matter of keeping the            Looking again at the trace results of running the simula
machine busy doing useful work using only low bandwidth to            tion, above, we see that for fp+noise the LPHDR weighted
the host machine.                                                     scores on average were within 0.85% of the correct value and
    When computing the nearest neighbor to a single Test, the never were as much as 1% different. For Ins arithmetic the
Test flows across all the PEs in the array. As discussed above, errors were even Smaller, averaging just 0.12% error.
if the array is an MxMgrid, it takes at least O(M) steps for the        These results are Surprising given that computing an over
Test to pass through the machine and return results to the host. all weighted score involves Summing the individual weighted
During this time the machine performs O(MxM) nearest scores associated with each Example. Since each run was
neighbor distance computations, but since the machine is 10 processing 1,000,000 Examples, this means that the sums
capable of performing O(MxM) calculations at each step, a were over one million small positive values. The naive
factor of O(M) is lost.                                              method of Summing one million Small values with errors of
    This speedup, compared to a serial machine, of a factor of about mate
                                                                            1% in each addition should yield results that approxi
                                                                           noise.  However, the code performs its sums using along
O(M) is significant and useful. However, the efficiency can be known method
even higher. If sufficiently many Test vectors, say O(M), or 15 1965), “Furtherinvented   remarks
                                                                                                  by Kahan (Kahan, William (January
                                                                                                     on reducing truncation errors”,
more, are to be processed then they can be streamed into the Communications of the ACM8                  (1): 40). The method makes it
machine and made to flow through in a pipelined fashion. The feasible to perform long Sums, such               as are done for Distance
time to process O(M) Tests remains O(M), the same as for a Weighted Scores, or as might be used in computational
single Test, but now the machine performs O(M)xO(MxM) finance when computing prices of derivative securities using
distance computations, and thus within a constant factor the Monte Carlo methods, or for performing deconvolution in
full computing capacity of the machine is used.                      image processing algorithms, as will be discussed next.
    Thus, the machine is especially efficient if it is processing       The Efficiency of this algorithm is similar to that of NN, as
at least as many Test vectors as the square root of the number discussed earlier. If many Test vectors are processed at once,
of PEs. There are applications that fit well into this form, such the machine performs especially efficiently.
as pattern recognition or compression of many independent 25
Tests (e.g., blocks of an image, parts of a file, price histories                                Application 3
of independent stocks) as well as the problem of finding the
nearest neighbor to every Example in the set of Examples.                            Removing Motion Blur in Images
This is in contrast to the general view among those having
ordinary skill in the art, as discussed above, that machines 30 In order to gather Sufficient light to forman image, camera
with very many arithmetic processing elements on a single shutters are often left open for long enough that camera
chip, or similar, are not very useful.                               motion can cause blurring. This can happen as a result of
                                                                     camera shake in inexpensive consumer cameras as well as
                         Application 2                               with very expensive but fast moving cameras mounted on
                                                                  35 satellites or aircraft. If the motion path of the camera is known
                   Distance Weighted Scoring                         (or can be computed) then the blur can be substantially
                                                                     removed using various deblurring algorithms. One such algo
    A task related to Nearest Neighbor is Distance Weighted rithm is the Richardson-Lucy method (“RL), and we show
Scoring. In this task, each Example has an associated Score. here that embodiments of the present invention can run that
This is a number that in some way characterizes the Example. 40 algorithm and produce useful results. Following the discus
For instance, if the Examples are abstractions of the history of sion format above, we discuss criteria of Accuracy and Effi
prices of a given stock, the Scores might be historical prob ciency.
abilities of whether the price is about to increase or decrease.        Algorithm.
Given a Test vector, the task is to form a weighted sum of the          The Richardson-Lucy algorithm is well known and widely
Scores of all the Examples, where the weights are a dimin 45 available. Assume that an image has been blurred using a
ishing function of the distance from the Test to the respective known kernel. In particular, assume that the kernel is a
Examples. For example, this weighted score might be taken straight line and that the image has been oriented so that the
as a prediction of the future price of the stock whose history blur has occurred purely in a horizontal direction. Consider
is represented by the Test. This use of embodiments of the the particular kernel for which the Jth pixel in each row of the
invention might help Support, for instance, high speed trading 50 blurred image is the uniformly weighted mean of pixels J
of stocks, as is performed by certain 'quantitative hedge through J-31 in the original unblurred image.
funds, despite the general view by those having ordinary skill          Accuracy.
in the art that low precision computation is not of use in              We implemented in the C programming language a
financial applications.                                              straightforward version of the RL method that uses LPHDR
    The C code described above computes weighted scores 55 arithmetic. The program reads a test image, blurs it using the
along with nearest neighbors. The scores assigned to kernel discussed above, then deblurs it using either fp+noise
Examples in this computation are random numbers drawn or Ins arithmetic. The RL algorithm computes Sums, such as
uniformly from the range 0.1. The weight for each Example when convolving the kernel with the current approximation
in this computation is defined to be the un-normalized weight of the deblurred image. Our implementation computes these
for the Example divided by the sum of the un-normalized 60 sums using the Kahan method, discussed earlier. FIG. 7
weights for all Examples, where the un-normalized weight shows the test image in original form. It is a satellite picture of
for each Example is defined to be the reciprocal of the sum of a building used during Barack Obama's inauguration. FIG. 8
one plus the squared distance from the Example to the Test shows the image extremely blurred by the kernel. It is difficult
vector. As discussed above, the code performs a number of to see any particular objects in this image. FIG. 9 shows the
runs, each producing many Examples and Tests, and com 65 result of deblurring using standard floating point arithmetic.
pares results of traditional floating point computations with FIG. 10 shows the result of deblurring using fp+noise arith
results calculated using fp+noise and Ins arithmetic.                metic, and FIG. 11 shows the result of deblurring using Ins
        Case 1:19-cv-12551-FDS Document 510-2 Filed 05/19/23 Page 25 of 30


                                                       US 8,407.273 B2
                               23                                                                 24
arithmetic. In all these cases the image is sufficiently restored  mented in accordance with embodiments of the present
that it is possible to recognize buildings, Streets, parking lots, invention can have extremely high performance with reason
and cars.                                                          able power (for instance in the tens of watts) or low power (for
   In addition to displaying the images herein for judgement instance a fraction of a watt) with reasonably high perfor
using the human eye, we computed a numerical measure of mance. This means that such embodiments may be suitable
deblurring performance. We computed the mean difference, for the full range of computing, from Supercomputers,
overall pixels in the image, between each original pixel value through desktops, down to mobile computing. Similarly, and
(a gray scale value from 0 to 255) and the corresponding value since cost is generally associated with the amount of available
in the image reconstructed by the RL method. Those numeri resources, embodiments of the present invention may provide
cal measures are shown below in Table 1:                        10 a relatively high amount of computing power per unit of cost
                                                                   compared to conventional computing devices.
                               TABLE 1.                               The SIMD architecture is rather old and is frequently dis
                                                                   carded as an approach to computer design by those having
       Image type                           Mean pixel error       ordinary skill in the art. However, if the processing elements
       Blurred                                   32.O           15 of a SIMD machine can be made particularly small while
       RL using standard floating point          13.0              retaining important functionality, Such as general arithmetic
       RL using fp + noise                       13.8              ability, the architecture can be useful. The embodiments pre
       RL using Ins                              14.8
                                                                   sented herein have precisely those qualities.
                                                                      The discovery that massive amounts of LPHDRarithmetic
   These results, together with the subjective but important is useful as a fairly general computing framework, as opposed
judgements made by the human eye, show that LPHDRarith to the common belief that it is not useful, can be an advantage
metic provides a Substantial and useful degree of deblurring in any (massively or non-massively) parallel machine design
compared to standard floating point arithmetic. Further, in or non-parallel design, not just in SIMD embodiments. It
this example we chose an extreme degree of blurring, to better could be used in FPGAs, FPAAs, GPU/SIMT machines,
convey the concept and visual impact of the deblurring using 25 MIMD machines, and in any kind of machine that uses com
LPHDRarithmetic. On more gentle and typical blur kernels, pact arithmetic processing elements to perform large amounts
the resulting deblurred images are much closer to the origi of computation using a small amount of resources (like tran
nals than in this case, as can be seen by shrinking the kernel sistors or Volume).
length and running the RL algorithm with LPHDRarithmetic              Another advantage of embodiments of the present inven
on those more typical cases.                                    30 tion is that they are not merely useful for performing compu
   Efficiency.                                                     tations efficiently in general, but that they can be used to
   It is clear to those with ordinary skill in the art that Rich tackle a variety of real-world problems which are typically
ardson-Lucy using a local kernel performs only local compu assumed to require high-precision computing elements, even
tational operations. An image to be deblurred can be loaded though such embodiments include only (or predominantly)
into the PE array, storing one or more pixels per PE, the 35 low-precision computing elements. Although several
deconvolution operation of RL can then be iterated dozens or examples of such real-world problems have been presented
hundreds of times, and the deblurred image can be read back herein, and although we have also had success implementing
to the host processor. As long as Sufficient iterations are non-bonded force field computations for molecular dynamics
performed, this makes efficient use of the machine.                simulation and other tasks, these are merely examples and do
   An extreme form of image deblurring is the Iterative 40 not constitute an exhaustive set of the real-world problems
Reconstruction method used in computational tomography. that embodiments of the present invention may be used to
Reconstructing 3D volumes from 2D projections is an solve.
extremely computational task. The method discussed above              The embodiments disclosed above are merely examples
generalizes naturally to Iterative Reconstruction and makes and do not constitute limitations of the present invention.
efficient use of the machine.                                   45 Rather, embodiments of the present invention may be imple
   Among the advantages of embodiments of the invention mented in a variety of other ways, such as the following.
are one or more of the following.                                     For example, embodiments of the present invention may
   PEs implemented according to certain embodiments of the represent values in any of a variety of ways, such as by using
present invention may be relatively small for PEs that can do digital or analog representations, such as fixed point, loga
arithmetic. This means that there are many PEs per unit of 50 rithmic, or floating point representations, Voltages, currents,
resource (e.g., transistor, area, Volume), which in turn means charges, pulse width, pulse density, frequency, probability,
that there is a large amount of arithmetic computational spikes, timing, or combinations thereof. These underlying
power per unit of resource. This enables larger problems to be representations may be used individually or in combination to
Solved with a given amount of resource than does traditional represent the LPHDR values. LPHDRarithmetic circuits may
computer designs. For instance, a digital embodiment of the 55 be implemented in any of a variety of ways, such as by using
present invention built as a large silicon chip fabricated with various digital methods (which may be parallel or serial,
current state of the art technology might perform tens of pipelined or not) or analog methods or combinations thereof.
thousand of arithmetic operations per cycle, as opposed to Arithmetic elements may be connected using various connec
hundreds in a conventional GPU or a handful in a conven            tionarchitectures, such as nearest 4, nearest 8, hops of varying
tional multicore CPU. These ratios reflect an architectural 60 degree, and architectures which may or may not be rectangu
advantage of embodiments of the present invention that lar or grid-like. Any method may be used for communication
should persist as fabrication technology continues to among arithmetic elements, such as parallel or serial, digital
improve, even as we reach nanotechnology or other imple or analog or mixed-mode communication. Arithmetic ele
mentations for digital and analog computing.                       ments may operate synchronously or asynchronously, and
   Doing arithmetic with few resources generally means, and 65 may operate globally simultaneously or not. Arithmetic ele
in the embodiments shown specifically means, that the arith ments may be implemented, for example, on a single physical
metic is done using low power. As a result, a machine imple device. Such as a silicon chip, or spread across multiple
       Case 1:19-cv-12551-FDS Document 510-2 Filed 05/19/23 Page 26 of 30


                                                   US 8,407.273 B2
                            25                                                              26
devices and an embodiment built from multiple devices may        with software to perform the LPHDR operations disclosed
have its arithmetic elements connected in a variety of ways,     herein. For example, embodiments of the present invention
including for example being connected as a grid, torus, hyper    may be implemented using a Software emulator of the func
cube, tree, or other method. Arithmetic elements may be          tions disclosed herein.
connected to a host machine, if any, in a variety of ways,            As yet another example, embodiments of the present inven
depending on the cost and bandwidth and other requirements         tion may be implemented using 3D fabrication technologies,
of a particular embodiment. For example there may be many          whether based on silicon chips or otherwise. Some example
host machines connected to the collection of arithmetic ele        embodiments are those in which a memory chip has been
mentS.                                                             bonded onto a processor or other device chip or in which
   Although certain embodiments of the present invention are 10 several memory and/or processor or other device chips have
described as being implemented as a SIMD architecture, this been bonded to each other in a stack. 3D embodiments of the
is merely an example and does not constitute a limitation of present invention are very useful as they may be denser than
the present invention. For example, embodiments of the 2D embodiments and may enable 3D communication of
present invention may be implemented as reconfigurable information between the processing units, which enables
architectures, such as but not limited to programmable logic 15 more algorithms to run efficiently on those embodiments
devices, field programmable analog arrays, or field program compared to 2D embodiments.
mable gate array architectures, such as a design in which             Although certain embodiments of the present invention are
existing multiplier blocks of an FPGA are replaced with or described herein as being implemented using silicon chip
supplemented by LPHDR arithmetic elements of any of the fabrication technology, this is merely an example and does
kinds disclosed herein, or for example in which LPHDR not constitute a limitation of the present invention. Alterna
elements are included in a new or existing reconfigurable tively, for example, embodiments of the present invention
device design. As another example, embodiments of the may be implemented using technologies that may enable
present invention may be implemented as a GPU or SIMT other sorts of traditional digital and analog computing pro
style architecture which incorporates LPHDRarithmetic ele cessors or other devices. Examples of Such technologies
ments of any of the kinds disclosed herein. For example, 25 include various nanomechanical and nanoelectronic tech
LPHDR elements could supplement or replace traditional nologies, chemistry based technologies Such as for DNA
arithmetic elements in current or new graphics processing computing, nanowire and nanotube based technologies, opti
unit designs. As yet another example, embodiments of the cal technologies, mechanical technologies, biological tech
present invention may be implemented as a MIMD-style nologies, and other technologies whether based on transistors
architecture which incorporates LPHDRarithmetic elements 30 or not that are capable of implementing LPHDR architectures
of any of the kinds disclosed herein. For example, LPHDR of the kinds disclosed herein.
arithmetic elements could supplement or replace traditional           Certain embodiments of the present invention have been
arithmetic elements in current or new MIMD computing sys described as “massively parallel' embodiments. Although
tem designs. As yet another example, embodiments of the certain embodiments of the present invention may include
present invention may be implemented as any kind of 35 thousands, millions, or more arithmetic units, embodiments
machine, including a massively parallel machine, which uses of the present invention may include any number of arith
compact arithmetic processing elements to provide large metic units (as few as one). For example, even an embodiment
amounts of arithmetic computing capability using a small which includes only a single LPHDR unit may be used within
amount of resources (for example, transistors or area or Vol a serial processing unit or other device to provide a significant
ume) compared with traditional architectures.                   40 amount of LPHDR processing power in a small, inexpensive
   Although certain embodiments of the present invention are processor or other device.
described herein as executing software, this is merely an             For certain embodiments of the present invention, even if
example and does not constitute a limitation of the present implemented using only digital techniques, the arithmetic
invention. Alternatively, for example, embodiments of the operations may not yield deterministic, repeatable, or the
present invention may be implemented using microcode or a 45 most accurate possible results within the chosen low preci
hardware sequencer or state machine or other controller to sion representation. For instance, on certain specific input
control LPHDR arithmetic elements of any of the kinds dis values, an arithmetic operation may produce a result which is
closed herein. Alternatively, for example, embodiments of the not the nearest value in the chosen representation to the true
present invention may be implemented using hardwired, arithmetic result.
burned, or otherwise pre-programmed controllers to control 50 The degree of precision of a "low precision, high dynamic
LPHDR arithmetic elements of any of the kinds disclosed range' arithmetic element may vary from implementation to
herein.                                                            implementation. For example, in certain embodiments, a
   Although certain embodiments of the present invention are LPHDR arithmetic element produces results which include
described herein as being implemented using custom silicon fractions, that is, values greater than Zero and less than one.
as the hardware, this is merely an example and does not 55 For example, in certain embodiments, a LPHDR arithmetic
constitute a limitation of the present invention. Alternatively, element produces results which are sometimes (or all of the
for example, embodiments of the present invention may be time) no closer than 0.05% to the correct result (that is, the
implemented using FPGA or other reconfigurable chips as the absolute value of the difference between the produced result
underlying hardware, in which the FPGAs or other reconfig and the correct result is no more than one-twentieth of one
urable chips are configured to perform the LPHDR operations 60 percent of the absolute value of the correct result). As another
disclosed herein. As another example, embodiments of the example, a LPHDR arithmetic element may produce results
present invention may be implemented using any program which are sometimes (or all of the time) no closer than 0.1%
mable conventional digital or analog computing architecture to the correct result. As another example, a LPHDR arith
(including those which use high-precision computing ele metic element may produce results which are sometimes (or
ments, including those which use other kinds of non-LPHDR 65 all of the time) no closer than 0.2% to the correct result. As yet
hardware to perform LPHDRarithmetic, and including those another example, a LPHDRarithmetic element may produce
which are massively parallel) which has been programmed results which are sometimes (or all of the time) no closer than
       Case 1:19-cv-12551-FDS Document 510-2 Filed 05/19/23 Page 27 of 30


                                                   US 8,407.273 B2
                               27                                                             28
0.5% to the correct result. As yet further examples, a LPHDR     designed  to perform  high dynamic range arithmetic of tradi
arithmetic element may produce results which are sometimes tional precision (that is, floating point arithmetic with a word
(or all of the time) no closer than 1%, or 2%, or 5%, or 10%, length of 32 or more bits). If NL is the total number of
or 20% to the correct result.                                    LPHDRelements in Suchadevice, and NH is the total number
   Besides having various possible degrees of precision, of elements in the device which are designed to perform high
implementations may vary in the dynamic range of the space dynamic range arithmetic of traditional precision, then NL
of values they process. For example, in certain embodiments, exceeds T(NH), where TO is some function. Any of a variety
a LPHDR arithmetic element processes values in a space of functions may be used as the function TO. For example, in
which may range approximately from one millionth to one certain embodiments, T(NH) may be twenty plus three times
million. As another example, in certain embodiments, a 10 NH, and the number of LPHDR arithmetic elements in the
LPHDRarithmetic element processes values in a space which device may exceed twenty more than three times the number
may range approximately from one billionth to one billion. As of arithmetic elements in the device, if any, designed to per
yet another example, in certain embodiments, a LPHDR form high dynamic range arithmetic of traditional precision.
arithmetic element processes values in a space which may As another example, in certain embodiments, the number of
range approximately from one sixty five thousandth to sixty 15 LPHDR arithmetic elements in the device may exceed fifty
five thousand. As yet further examples, in certain embodi        more than five times the number of arithmetic elements in the
ments, a LPHDR arithmetic element processes values in a device, if any, designed to perform high dynamic range arith
space which may range from any specific value between Zero metic of traditional precision. As yet another example, in
and one sixty five thousandth up to any specific value greater certain embodiments, the number of LPHDRarithmetic ele
than sixty five thousand. As yet further examples, other ments in the device may exceed one hundred more than five
embodiments may process values in spaces with dynamic times the number of arithmetic elements in the device, if any,
ranges that may combine and may fall between the prior designed to perform high dynamic range arithmetic of tradi
examples, for example ranging from approximately one bil tional precision. As yet another example, in certain embodi
lionth to ten million. In all of these example embodiments of ments, the number of LPHDR arithmetic elements in the
the present invention, as well as in other embodiments, the 25 device may exceed one thousand more than five times the
values that we are discussing may be signed, so that the above number of arithmetic elements in the device, if any, designed
descriptions characterize the absolute values of the numbers to perform high dynamic range arithmetic of traditional pre
being discussed.                                                 cision. As yet another example, in certain embodiments, the
   The frequency with which LPHDR arithmetic elements number of LPHDR arithmetic elements in the device may
may yield only approximations to correct results may vary 30 exceed five thousand more than five times the number of
from implementation to implementation. For example, con arithmetic elements in the device, if any, designed to perform
sider an embodiment in which LPHDR arithmetic elements           high dynamic range arithmetic of traditional precision. Cer
can perform one or more operations (perhaps including, for tain embodiments of the present invention may be imple
example, trigonometric functions), and for each operation the mented within a single physical device. Such as but not lim
LPHDR elements each accept a set of inputs drawn from a 35 ited to a silicon chip or a chip stack or a chip package or a
range of valid values, and for each specific set of input values circuit board, and the number NL of LPHDR elements in the
the LPHDR elements each produce one or more output values physical device and the number NH of elements designed to
(for example, simultaneously computing both sin and cos of perform high dynamic range arithmetic of traditional preci
an input), and the output values produced for a specific set of sion in the physical device may be the total counts of the
inputs may be deterministic or non-deterministic. In Such an 40 respective elements within that physical device. Certain
example embodiment, consider further a fraction F of the embodiments of the present invention may be implemented in
valid inputs and a relative error amount E by which the result a computing system including more than one physical device,
calculated by an LPHDR element may differ from the math Such as but not limited to a collection of silicon chips or chip
ematically correct result. In certain embodiments of the stacks or chip packages or circuit boards coupled to and
present invention, for each LPHDRarithmetic element, for at 45 communicating with each other using any means (such as a
least one operation that the LPHDR unit is capable of per bus, Switch, any kind of network connection, or other means
forming, for at least fraction F of the possible valid inputs to of communication), and in this case the number NL of
that operation, for at least one output signal produced by that LPHDR elements in the computing system and the number
operation, the statistical mean, over repeated execution, of the NH of elements designed to perform high dynamic range
numerical values represented by that output signal of the 50 arithmetic of traditional precision in the computing system
LPHDR unit, when executing that operation on each of those may be the total counts of the respective elements within all
respective inputs, differs by at least E from the result of an those physical devices jointly.
exact mathematical calculation of the operation on those            Certain embodiments of the present invention may consti
same input values, where F is 1% and E is 0.05%. In several tute, or may be part of processors, which are devices capable
other example embodiments, F is not 1% but instead is one of 55 of executing software to perform computations. Such proces
2%, or 5%, or 10%, or 20%, or 50%. For each of these             sors may include mechanisms for storing Software, for using
example embodiments, each with some specific value for F. the software to determine what operations to perform, for
there are other example embodiments in which E is not 0.05% performing those operations, for storing numerical data, for
but instead is 0.1%, or 0.2%, or 0.5%, or 1%, or 2%, or 5%, or   modifying data according to the software specified opera
10%, or 20%. These varied embodiments are merely 60 tions, and for communicating with devices connected to the
examples and do not constitute limitations of the present processor. Processors may be reconfigurable devices, such as,
invention.                                                       without limitation, field programmable arrays. Processors
   For certain devices (such as computers or processors or may be co-processors to assist host machines or may be
other devices) embodied according the present invention, the capable of operating independently of an external host. Pro
number of LPHDR arithmetic elements in the device (e.g., 65 cessors may be formed as a collection of component host
computer or processor or other device) exceeds the number, processors and co-processors of various types, such as CPUs,
possibly Zero, of arithmetic elements in the device which are GPUs, FPGAs, or other processors or other devices, which in
          Case 1:19-cv-12551-FDS Document 510-2 Filed 05/19/23 Page 28 of 30


                                                    US 8,407.273 B2
                               29                                                                 30
the art may be referred to as a heterogeneous processor design          operation on a first input signal representing a first
or heterogeneous computing system, some or all of which                 numerical value to produce a first output signal repre
components might incorporate the same or distinct varieties             senting a second numerical value,
of embodiments of the present invention.                             wherein the dynamic range of the possible valid inputs to
   Embodiments of the present invention may, however, be                the first operation is at least as wide as from 1/65,000
implemented in devices in addition to or other than proces              through 65,000 and for at least X=5% of the possible
sors. For example, a computer including a processor and other           valid inputs to the first operation, the statistical mean,
components (such as memory coupled to the processor by a                over repeated execution of the first operation on each
data path), wherein the processor includes components for               specific input from the at least X % of the possible valid
performing LPHDR operations in any of the ways disclosed 10             inputs  to the first operation, of the numerical values
herein, is an example of an embodiment of the present inven             represented  by the first output signal of the LPHDR unit
tion. More generally, any device or combination of devices,             executing the first operation on that input differs by at
whether or not falling within the meaning of a “processor.”             least Y=0.05% from the result of an exact mathematical
which performs the functions disclosed herein may constitute
an example of an embodiment of the present invention.           15      calculation of the first operation on the numerical values
   More generally, any of the techniques described above may            of that same input.
be implemented, for example, in hardware, software tangibly          2. The device of claim 1, wherein the at least one first
stored on a computer-readable medium, firmware, or any LPHDR execution unit comprises at least part of an FPGA.
combination thereof. The techniques described above may be           3. The device of claim 1, wherein the at least one first
implemented in one or more computer programs executing on LPHDR execution unit comprises at least ten LPHDR execu
a programmable computer including a processor, a storage tion units.
medium readable by the processor (including, for example,            4. The device of claim 3, wherein the at least one first
Volatile and non-volatile memory and/or storage elements), at LPHDR execution unit comprises at least part of an FPGA.
least one input device, and at least one output device. Program      5. The device of claim 1, wherein the number of LPHDR
code may be applied to input entered using the input device to 25 execution units in the device exceeds by at least ten the
perform the functions described and to generate output. The non-negative integer number of execution units in the device
output may be provided to one or more output devices.              adapted to execute at least the operation of multiplication on
   Each computer program within the scope of the claims floating point numbers that are at least 32 bits wide.
below may be implemented in any programming language,                6. The device of claim 5, wherein the at least one first
Such as assembly language, machine language, a high-level 30 LPHDR execution unit comprises at least part of an FPGA.
procedural programming language, oran object-oriented pro            7. The device of claim 1, wherein the at least one first
gramming language. The programming language may, for LPHDR execution unit comprises at least one hundred
example, be a compiled or interpreted programming lan LPHDR execution units.
gllage.                                                                8. The device of claim 1, wherein the number of LPHDR
   Each Such computer program may be implemented in a 35 execution units in the device exceeds by at least one hundred
computer program product tangibly embodied in a machine the non-negative integer number of execution units in the
readable storage device for execution by a computer proces device adapted to execute at least the operation of multipli
sor. Method steps of the invention may be performed by a cation on floating point numbers that are at least 32 bits wide.
computer processor executing a program tangibly embodied        9. The device of claim 1, wherein the at least one first
on a computer-readable medium to perform functions of the 40 LPHDR execution unit comprises at least five hundred
invention by operating on input and generating output. Suit LPHDR execution units.
able processors include, by way of example, both general and    10. The device of claim 1, wherein the number of LPHDR
special purpose microprocessors. Generally, the processor execution units in the device exceeds by at least five hundred
receives instructions and data from a read-only memory and/ the non-negative integer number of execution units in the
or a random access memory. Storage devices Suitable for 45 device adapted to execute at least the operation of multipli
tangibly embodying computer program instructions include, cation on floating point numbers that are at least 32 bits wide.
for example, all forms of non-volatile memory, such as semi     11. The device of claim 8, wherein X=10%.
conductor memory devices, including EPROM, EEPROM,              12. The device of claim 8, wherein Y=0.1%.
and flash memory devices; magnetic disks Such as internal       13. The device of claim 8, wherein Y=0.15%.
hard disks and removable disks; magneto-optical disks; and 50 14. The device of claim 8, wherein Y=0.2%.
CD-ROMs. Any of the foregoing may be supplemented by, or        15. The device of claim 8, wherein X=10% and wherein
incorporated in, specially-designed ASICs (application-spe Y=0.1%.
cific integrated circuits) or FPGAs (Field-Programmable         16. The device of claim 8, wherein X=10% and wherein
Gate Arrays). A computer can generally also receive pro Y=0.15%.
grams and data from a storage medium Such as an internal 55 17. The device of claim 8, wherein X=10% and wherein
disk (not shown) or a removable disk. These elements will Y=0.2%.
also be found in a conventional desktop or workstation com      18. The device of claim8, wherein the dynamic range of the
puter as well as other computers suitable for executing com possible valid inputs to the first operation is at least as wide as
puter programs implementing the methods described herein, from 1/1,000,000 through 1,000,000.
which may be used in conjunction with any digital print 60 19. The device of claim 1, wherein the at least one first
engine or marking engine, display monitor, or other raster LPHDR execution unit comprises a plurality of locally con
output device capable of producing color or gray Scale pixels nected LPHDR execution units.
on paper, film, display Screen, or other output medium.         20. The device of claim 1, wherein the device has a SIMD
  The invention claimed is:                                          architecture.
  1. A device:                                                  65     21. The device of claim 1, wherein the device includes
  comprising at least one first low precision high dynamic           memory locally accessible to the at least one first LPHDR
    range (LPHDR) execution unit adapted to execute a first          execution unit.
        Case 1:19-cv-12551-FDS Document 510-2 Filed 05/19/23 Page 29 of 30


                                                     US 8,407.273 B2
                            31                                                                   32
  22. The device of claim 1, wherein the device is imple              wherein the dynamic range of the possible valid inputs to
mented on a silicon chip.                                               the first operation is at least as wide as from 1/65,000
  23. The device of claim 1, wherein the device is imple                through 65,000 and for at least X=5% of the possible
mented on a silicon chip using digital technology.                      valid inputs to the first operation, the statistical mean,
  24. The device of claim 1, wherein the device further com 5           over repeated execution of the first operation on each
prises a digital processor adapted to control the operation of          specific input from the at least X % of the possible valid
the at least one first LPHDR execution unit.                            inputs to the first operation, of the numerical values
  25. The device of claim 1, wherein the at least one LPHDR             represented by the first output signal of the LPHDR unit
execution unit comprises at least five hundred locally con 10           executing the first operation on that input differs by at
nected LPHDR execution units, wherein the device includes                least Y=0.05% from the result of an exact mathematical
memory locally accessible to at least one of the LPHDR                   calculation of the first operation on the numerical values
execution units, and wherein the device is implemented on a              of that same input;
silicon chip using digital technology.                                wherein the number of LPHDR execution units in the
   26. The device of claim 1, wherein the device is part of a 15         device exceeds the non-negative integer number of
mobile device.                                                           execution units in the device adapted to execute at least
  27. The device of claim 1, wherein the at least one first              the operation of multiplication on floating point num
LPHDR execution unit represents numbers using a logarith                 bers that are at least 32 bits wide.
mic representation.                                                   37. The device of claim 36, wherein the at least one first
  28. The device of claim 1, wherein the at least one first         LPHDR execution unit comprises at least part of an FPGA.
LPHDR execution unit represents numbers using a floating              38. The device of claim 36, wherein the at least one first
point representation.                                               LPHDR execution unit comprises at least ten LPHDR execu
  29. The device of claim 1:                                        tion units.
   wherein the device further comprises input means for               39. The device of claim 38, wherein the at least one first
     receiving data representing an input image; and            25 LPHDR execution unit comprises at least part of an FPGA.
   wherein the input image includes the first input signal.           40. The device of claim 36, wherein the number of LPHDR
   30. The device of claim 29, wherein the device is part of a execution units in the device exceeds by at least ten the
mobile device.                                                     non-negative integer number of execution units in the device
   31. The device of claim29, wherein the device is adapted to adapted to execute at least the operation of multiplication on
deblur the input image.                                         30
                                                                   floating point numbers that are at least 32 bits wide.
   32. The device of claim 1, wherein the device is adapted to        41. The device of claim 40, wherein the at least one first
perform nearest neighbor search.
   33. A device comprising a computer processor and a com LPHDR       42. The
                                                                             execution unit comprises at least part of an FPGA.
                                                                               device of claim 36, wherein the at least one first
puter-readable memory storing computer program instruc
                                                                   LPHDR execution unit comprises at least one hundred
tions, wherein the computer program instructions are execut 35 LPHDR
able by the processor to emulate a second device comprising:                execution units.
   at least one first low precision high-dynamic range                43. The device of claim 36, wherein the number of LPHDR
      (LPHDR) execution unit adapted to execute a first execution units in the device exceeds by at least one hundred
     operation on a first input signal representing a first the non-negative integer number of execution units in the
     numerical value to produce a first output signal repre 40 device adapted to execute at least the operation of multipli
      senting a second numerical value;                            cation on floating point numbers that are at least 32 bits wide.
   wherein the dynamic range of the possible valid inputs to          44. The device of claim 36, wherein the at least one first
     the first operation is at least as wide as from 1/65,000 LPHDR execution unit comprises at least five hundred
     through 65,000 and for at least X=5% of the possible LPHDR execution units.
     valid inputs to the first operation, the statistical mean, 45 45. The device of claim 36, wherein the number of LPHDR
     over repeated execution of the first operation on each execution units in the device exceeds by at least five hundred
      specific input from the at least X % of the possible valid the non-negative integer number of execution units in the
     inputs to the first operation, of the numerical values device adapted to execute at least the operation of multipli
     represented by the first output signal of the LPHDR unit cation on floating point numbers that are at least 32 bits wide.
     executing the first operation on that input differs by at 50 46. The device of claim 43, wherein X=10%.
     least Y=0.05% from the result of an exact mathematical           47. The device of claim 43, wherein Y=0.1%.
     calculation of the first operation on the numerical values       48. The device of claim 43, wherein Y=0.15%.
     of that same input.                                              49. The device of claim 43, wherein Y=0.2%.
  34. The device of claim 33, wherein the at least one first          50. The device of claim 43, wherein X=10% and wherein
LPHDR execution unit comprises at least ten LPHDR execu 55 Y=0.1%.
tion units.                                                           51. The device of claim 43, wherein X=10% and wherein
  35. The device of claim 33, wherein the number of LPHDR           Y=0.15%.
execution units in the second device exceeds by at least ten the    52. The device of claim 43, wherein X=10% and wherein
non-negative integer number of execution units in the second Y=0.2%.
device adapted to execute at least the operation of multipli 60 53. The device of claim 43, wherein the dynamic range of
cation on floating point numbers that are at least 32 bits wide. the possible valid inputs to the first operation is at least as
   36. A device:                                                 wide as from 1/1,000,000 through 1,000,000.
   comprising at least one first low precision high-dynamic         54. The device of claim 36, wherein the at least one first
     range (LPHDR) execution unit adapted to execute a first LPHDR execution unit comprises a plurality of locally con
     operation on a first input signal representing a first 65 nected LPHDR execution units.
     numerical value to produce a first output signal repre         55. The device of claim 36, wherein the device has a SIMD
      senting a second numerical value,                          architecture.
       Case 1:19-cv-12551-FDS Document 510-2 Filed 05/19/23 Page 30 of 30


                                                     US 8,407.273 B2
                             33                                                                   34
   56. The device of claim 36, wherein the device includes           68. A device   comprising   a computer processor and a com
memory locally accessible to the at least one first LPHDR puter-readable memory storing computer program instruc
execution unit.                                                   tions, wherein the computer program instructions are execut
  57. The device of claim 36, wherein the device is imple able         by the processor to emulate a second device comprising:
                                                                     at least one first low precision high-dynamic range
mented on a silicon chip.                                               (LPHDR) execution unit adapted to execute a first
  58. The device of claim 36, wherein the device is imple              operation on a first input signal representing a first
mented on a silicon chip using digital technology.                     numerical value to produce a first output signal repre
   59. The device of claim 36, wherein the device further               senting a second numerical value,
comprises a digital processor adapted to control the operation 10 wherein the dynamic range of the possible valid inputs to
of the at least one first LPHDR execution unit.                        the first operation is at least as wide as from 1/65,000
   60. The device of claim 36, wherein the at least one                through 65,000 and for at least 5% of the possible valid
LPHDR execution unit comprises at least five hundred locally           inputs to the first operation, the statistical mean, over
connected LPHDR execution units, wherein the device                    repeated execution of the first operation on each specific
includes memory locally accessible to at least one of the 15           input from the at least 5% of the possible valid inputs to
LPHDR execution units, and wherein the device is imple                 the first operation, of the numerical values represented
mented on a silicon chip using digital technology.                     by the first output signal of the LPHDR unit executing
   61. The device of claim 36, wherein the device is part of a         the first operation on that input differs by at least 0.05%
mobile device.                                                         from the result of an exact mathematical calculation of
   62. The device of claim 36, wherein the at least one first          the  first operation on the numerical values of that same
LPHDR execution unit represents numbers using a logarith               input;
                                                                     wherein the number of LPHDR execution units in the
mic representation.                                                     second device exceeds the non-negative integer number
   63. The device of claim 36, wherein the at least one first          of  execution units in the second device adapted to
LPHDR execution unit represents numbers using a floating               execute at least the operation of multiplication on float
point representation.                                          25
   64. The device of claim 36:                                         ing point numbers that are at least 32 bits wide.
  wherein the device further comprises input means for LPHDR         69. The device of claim 68, wherein the at least one first
     receiving data representing an input image; and                        execution unit comprises at least ten LPHDR execu
                                                                  tion units.
  wherein the input image includes the first input signal.           70. The device of claim 68, wherein the number of LPHDR
   65. The device of claim 64, wherein the device is part of a 30 execution   units in the second device exceeds by at least ten the
mobile device.
   66. The device of claim 64, wherein the device is adapted to device adaptedinteger
                                                                  non-negative             number of execution units in the second
                                                                                    to execute at least the operation of multipli
deblur the input image.
   67. The device of claim 36, wherein the device is adapted to cation on floating point numbers that are at least 32 bits wide.
perform nearest neighbor search.                                                            k  k    k  k   k
